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  REDACTED DOCUMENTS RELATED
         TO DOCKET 8186

8186-Plaintiffs’ Omnibus Separate Statement of Facts
 in Support of Their Response to Defendants’ Motion
   for Summary Judgment in the Bellwether Cases –
                   Filed Redacted

Exhibit H-A:    Selected Medical Records of Lisa Ann Hyde;
Exhibit H-B:    Excerpts of 4/6/17 Deposition of David Henry, M.D.;
Exhibit H-C:    Excerpts of 1/25/17 Deposition of Lisa A. Hyde;
Exhibit H-D:    Lisa A. Hyde Fact Sheet;
Exhibit H-E:    Excerpts of 3/23/17 Deposition of William T. Kuo, M.D.;
Exhibit H-F:    Excerpts of 7/6/17 Deposition of Robert McMeeking;
Exhibit J-A:    Selected Medical Records of Doris Jones;
Exhibit J-B:    Excerpts of 3/23/17 Deposition of Anthony Avino, M.D.;
Exhibit J-C:    Doris Jones Consent Form dated 8/23/10;
Exhibit J-I:    Excerpts of 8/5/17 Deposition of David Chodos, M.D.;
Exhibit J-J:    Excerpts of 3/23/17 Deposition of Kirstin Nelson, M.D.;
Exhibit J-Q:    Excerpts of 7/18/17 Deposition of Mark W. Moritz, M.D.;
Exhibit M-A:    Selected Medical Records of Debra Mulkey;
Exhibit M-C:    Excerpts of 4/11/17 Deposition of Roderick Tompkins, M.D.;
Exhibit M-D:    Excerpts of 2/8/17 Deposition of Debra Mulkey;
Exhibit M-E:    Debra Mulkey Fact Sheet;
Exhibit M-I:    Excerpts of 6/1/17 Deposition of Pho M. Nguyen, M.D.
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 8
                                 UNITED STATES DISTRICT COURT
 9
10                                      DISTRICT OF ARIZONA

11         In Re Bard IVC Filters Products             No. MD-15-02641-PHX-DGC
           Liability Litigation
12                                                     PLAINTIFFS’ OMNIBUS SEPARATE
                                                       STATEMENT OF FACTS IN
13                                                     SUPPORT OF THEIR RESPONSE TO
                                                       DEFENDANTS’ MOTION FOR
14                                                     SUMMARY JUDGMENT IN THE
                                                       BELLWETHER CASES
15
16             Plaintiffs submit this Omnibus Separate Statement of Facts in Support of their
17    Response to Defendants’ Motion for Summary Judgment in the bellwether cases.
18    I.       FACTS COMMON TO ALL CASES
19             A.     Bard Departs from A Proven IVC Filter to Make More Money.
20             1.     Beginning on approximately April 28, 1995, Bard Peripheral Vascular, Inc.
21    (“BPV) and C.R. Bard, Inc. (“C.R. Bard”) (collectively “Bard”) manufactured and sold an
22    inferior vena cava (“IVC”) filter called the Simon Nitinol Filter (“SNF”). See 510(k)
23    Premarket Notification, FDA website, available at https://www.accessdata.fda.gov/
24    scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K944353 (last accessed Oct. 2, 2017). Bard
25    marketed the SNF as a device to be implanted in a patient’s IVC to trap blood clots to
26    prevent the clots from traveling to the heart and lungs and potentially causing a pulmonary
27    embolism (“PE”). US FDA Clinical Data Summary of the Simon Nitinol Filter, attached
28    as Exhibit 1, BPVE-01-00280772, at 73; Ex. 8, BPVE-01-00066044.
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 1           2.      The basic performance specifications for Bard IVC filters were that the
 2    devices must not migrate, require hook strength for stability and migration resistance,
 3    should not break or come apart during their lifetime, and must not fracture as result of
 4    corrosion or stresses within the body. Deposition of John McDermott, Feb. 5, 2014,
 5    attached as Exhibit 2, at 83:9-92:18; Product Performance Specification Recovery Filter
 6    and Femoral Delivery System, Nov. 2003, attached as Exhibit 3, BPVE-01-00010390-
 7    416, at 403.
 8           3.      The SNF filter largely met these design and patient safety goals, performing
 9    very well in patients. Email from David Ciavarella to Brian Barry and Chris Ganser re G2
10    Caudal Migrations, Dec. 27, 2005, attached as Exhibit 4, BPVE-01-00028224-25.
11           4.      The Simon Nitinol Filter had only 8 fractures out of sales of 80,187 between
12    launch and May 2011. Chart of Filter Fracture Complaints, attached as Exhibit 5,
13    BPVEFILTER-01-00037664. As the predicate device for Recovery, this is the standard of
14    performance against which the Recovery filter is measured for substantial equivalence and
15    safety and effectiveness. Deposition of Donna B. Tillman, June 12, 2014, attached as
16    Exhibit 6, at 101:20-23, 115:23-116:3, 119:23-120; Deposition of Christine Brauer, dated
17    Aug. 2, 2017, attached as Exhibit 7, at 202:19-203:8.
18           5.      Early clinical studies demonstrated that migration of the SNF filter device
19    was rare, with only 2 of 258, or 0.8%, migrations reported for patients who received the
20    SNF between February 1988 and November 1990, while there were no reports of filter
21    fractures observed. Ex. 1, BPVE-01-00280772, at 72, 86; Simon Nitinol Filter/Straight
22    Line Technical File, attached as Exhibit 8, BPVE-01-00066044-109, at 98-99. Since
23    these early clinical studies there have been zero SNF migration deaths and a significantly
24    lower number of SNF migrations compared to Recovery, G2, and Eclipse reported to Bard
25    through May 2011, Ex. 5, BPVEFILTER-01-00037664.
26           6.      Bard wanted to increase its market share in the IVC filter market and
27    believed that developing a retrievable IVC filter would enable it to do so. Product
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 1    Opportunity Appraisal for Recovery Filter System, Mar. 28, 2003, attached as Exhibit 9,
 2    BPV-17-01-00030247, at 249.
 3           7.     Officers at Bard recognized that modifying the design to allow for optional
 4    retrieval had the potential to significantly increase BARD’s market share of the IVC filter
 5    market. Id.
 6           B.     The Recovery Filter.
 7           8.     The Recovery Nitinol Filter (“Recovery” or “RNF”), Bard’s first “Optional
 8    Filter,” was designed as a “permanent filter that you can remove long-term (12 weeks)”
 9    which was to have the “same strengths as permanent filters” with “arms designed for
10    centering and caudal migration resistance,” one (vena cava) size fits all (up to 28 mm),”
11    “hooks (to) provide migration resistance when the filter is fully occluded,” and would
12    “convert to a permanent filter” if not removed within 12 weeks. NMT Cprdos
13    presentation, June 14, 2000, attached as Exhibit 10, BPVE-01-00001342.
14           9.     In April 2000, Dr. Murray Asch, an Interventional Radiologist from Canada,
15    began his RNF retrievability study. Deposition of Murray R. Asch, May 2, 2016, attached
16    as Exhibit 11, at 12:14-24; Murray R. Asch, MD, FRCPC, Initial Experience in Humans
17    with a New Retrievable IVC Filter, Radiology 2002; 225:835-844 (“Asch Study Article”),
18    attached as Exhibit 12. Thirty-four patients who needed IVC filters were selected to
19    receive an RNF between April 2000 and November 2001. When Dr. Asch’s first article
20    regarding the study was published, 16 men and 16 women aged 18-83 years had been
21    implanted with the RNF (2 patients of the original 34 selected were found to have
22    anatomic conditions unfavorable for filter placement). Id. at 835, 837. The indications
23    for placement were recent deep venous thrombosis, recent pulmonary embolism, and/or
24    prophylaxis. Id. The mean implantation period was 53 days and the range was 5 to 134
25    days. Id. at 835.
26           10.    During Dr. Asch’s treatment of the initial 32 patients, his test subjects
27    encountered several complications with the RNF: 1 migration, 2 fractures, 2 tilts, 1
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 1    perforation, and 19 deployment-related problems. Ex. 11, Asch Dep., at 26:8-15; Ex. 12,
 2    Asch Study Article, at 839-40 (tilts and deployment issues), 843 (perforation).
 3           11.    The Canadian Institutional Review Board (IRB) suspended the study after
 4    the filter fractures were reported. Email from George Cavagnaro to Doug Uelmen and
 5    Carol Vierling, April 18, 2002, attached as Exhibit 13, BPV-17-01-00052621 (forwarding
 6    email from Dr. Asch stating he had reported RNF fracture to the IRB and “the IRB has
 7    suspended the trial effective immediately until the nature of the problem with the device
 8    can be better understood”).
 9           12.    Dr. Asch testified that his study should never have been used to seek market
10    clearance of the RNF in the U.S. Ex. 11, Asch Dep. at 23:7-24:19; 195:14-24.
11           13.    Bard was aware of the Recovery filter’s design flaws and told Dr. Asch it
12    would change the design or manufacturing process of the filter to try to prevent fractures.
13    Bard admitted that pre-marketing fractures were likely due to weakness at the site of the
14    weld, and that it was aware that it needed to increase robustness of the filter by designing
15    it with larger diameter metal. Ex. 11, Asch Dep., at 40:19-41:11.
16           14.    Defendants’ expert Dr. Donna B. Tillman testified that Bard had an
17    obligation to assure that (a) “the device continues to be safe and effective and that they
18    [sic] meets FDA’s quality system requirements throughout the life of the device,” (b)
19    “[a]ssessed overall, the safety and effectiveness of the device could not be worse than the
20    predicate device;” and (c) “[the device] needs to be as safe and effective as the predicate
21    device.” Ex. 6, at 101:20-23, 115:23-116:3, 119:23-120:7.
22           15.    On July 10, 2002, Bard submitted a special 510(k) application (K022236)
23    modifying the SNF (the predicate device to which the filter was to be substantially
24    equivalent) seeking clearance for a new IVC filter that would be known as the Recovery
25    Filter. See https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/
26    pmn.cfm?ID=K022236; Letter from K. Fuller and C. Vierling to Food and Drug
27    Administration, dated July 10, 2002, attached as Exhibit 14, BPV-17-01-00057953;
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 1    Recovery Filter System Special 510(k) Submission, July 10, 2002, attached as Exhibit 15,
 2    BPV-TRIAL-EXHIBIT-0293.
 3           16.    If an IVC filter is cleared to be marketed in the United States based on
 4    substantial equivalence to an appropriate predicate device, there is an expectation that the
 5    new device will continue to be as safe and effective as the predicate device, post-
 6    marketing in the real clinical world. Ex. 7, 2017 Brauer Dep. at 202:19-203:8.
 7           17.    On November 27, 2002, Bard obtained clearance from the FDA to market
 8    the Recovery as a permanent IVC filter. Department of Health & Human Services letter,
 9    Nov. 27, 2002, attached as Exhibit 16, BPV-17-01-00057709.
10           18.    Bard then bootstrapped this clearance to open the door for a retrievable
11    filter. On April 25, 2003, Bard submitted an abbreviated 510(k) pre-market notification
12    (K031328) in order to obtain an indication for retrievability for the RNF. Letter from
13    Mary Edwards to FDA, Apr. 25, 2003, attached as Exhibit 17, BPV-17-01-00054947; see
14    also https://www.accessdata.fda.gov/cdrh_docs/ pdf3/K031328.pdf (last accessed Sept.
15    25, 2017).
16           19.    Bard’s 510(k) applications for the RNF did not disclose that filters at the
17    low end of the leg span set specification only met the migration resistance test when the
18    hooks were engaged but that those hooks were not always engaged. Recovery Filter
19    System Special 510(k) Submission (K022236), Nov. 27, 2002, BPV-17-01-00057953-55,
20    attached as Exhibit 18; Ex. 15, Recovery Filter System Special 510(k) Submission, July
21    10, 2002, BPV-TRIAL-EXHIBIT-0293.
22           20.    Bard was aware that it had an “absence of solid clinical history” and
23    “documented negative clinical experiences” for the RNF but was confident that those
24    obstacles to selling the device could be overcome with “aggressive marketing.” Product
25    Opportunity Appraisal for Recovery Filter System, dated Mar. 28, 2003, BPV-17-01-
26    00030247, Ex. 9, at 249.
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 1          21.     In migration testing in 1999, NMT concluded that “the SNF filters were
 2    superior [to the Recovery] in 28 mm tubing.” R&D Technical Report, Aug. 5, 1999,
 3    attached as Exhibit 19, BPV-17-01-00002650, at 53.
 4          22.     To become a safer product, Recovery required longer arms, larger and
 5    stronger hooks by increasing diameter of the wire, and an increased leg span. Deposition
 6    of Robert Carr, Dec. 19, 2014, attached as Exhibit 20, at 120:20–122:1; Deposition of Len
 7    DeCant, May 24, 2016, attached as Exhibit 21, at 249:3-14.
 8          23.     Bard could have employed penetration limiters to improve perforations at
 9    the time the Recovery was designed and marketed, but did not do so for the Recovery.
10    Transcript of deposition of Andrzej Chanduszko, Oct. 10, 2013, attached as Exhibit 22, at
11    51:23–52:7.
12          24.     Bard’s IFU for the Recovery Filter device does not include information for
13    physicians that the device failed migration-resistance testing when the hooks were not
14    engaged. Recovery Filter System for use in the Vena Cava, Information for Use, attached
15    as Exhibit 23, BPVE-01-00435559; Deposition of David A. Kessler, M.D., attached as
16    Exhibit 24, Oct. 5, 2016, at 179:3–181:19.
17          25.     The failure of Recovery anchor hooks to engage was a marked difference
18    from the SNF, eroding Bard’s claim that the device was substantially equivalent to the
19    SNF. Ex. 24, Kessler Dep. at 179:3–181:19.
20          26.     In ignorance of the design flaws in its product that Bard’s testing and
21    experience had identified, FDA cleared the Recovery for a retrievability indication,
22    allowing Bard to market the Recovery as a permanent filter with the option for retrieval
23    on July 25, 2003. Department of Health & Human Services letter, dated July 25, 2003,
24    attached as Exhibit 25, BPV-17-01-00058122-24.
25                  1.     The Recovery Quickly Proves Deadly.
26          27.     Bard began selling the Recovery filter to a limited market on December 20,
27    2002; it had full market release in January 2004. Failure Investigations/R002 History
28    Review, BPVEFILTER-01-00003802-836, attached as Exhibit 26, at 12 (limited); Special

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 1    Design Review for Recovery (Project #s 7081 and 8008) – Meeting Minutes, dated Dec.
 2    9, 2003, attached as Exhibit 27, BPVE-01-00407525-527, at 526 (full).
 3           28.    Starting in October of 2003, Bard began receiving complaints from real-
 4    world patients and physicians of migrations, fracture, and—starting in February 2004—
 5    deaths. Ex. 26, Failure Investigations/R002 History Review, at 12-14.
 6           29.    On December 9, 2003, less than a month prior to full market release of the
 7    Recovery filter, Bard did not have a full understanding of the design elements of the
 8    Recovery IVC filter. At that time, the Special Design Review team for the Recovery filter
 9    requested “objective evidence” of the following, among other things, (a) to document the
10    criteria (50 mmHg) that Bard used for migration resistance; (b) a study that analyzed the
11    filter’s migration resistance in conjunction with tilting and the number of legs/hooks
12    secured; (c) a study that compared Recovery’s migration resistance to competitive
13    products; (d) migration resistance of the Recovery with oval and/or D-shaped IVCs.
14    Special Design Review for Recovery (Project #s 7081 and 8008) – Meeting Minutes,
15    dated Dec. 9, 2003, Ex. 27, BPVE-01-00407525, at 26-27. Nonetheless, Bard chose not
16    to conduct such studies prior to full market release of the Recovery. Ex. 21, DeCant Dep.
17    at 195:22-196:19; 204:1-12; 204:22-205:6; 207:1-208:23.
18           30.    Even after the commercial marketing of the Recovery filter began, Bard had
19    many questions that needed to be answered about the performance of the device, but did
20    know that it did not always stay centered in the vena cava even if properly deployed and
21    centered. Email chain between Janet Hudnall to David Rausch, Feb. 26-27, 2004,
22    attached as Exhibit 28, BPVE-01-00373887.
23           31.    Bard learned of the first death from a Recovery filter migrating to the heart
24    of a patient on February 9, 2004, approximately five weeks after full market release.
25    Ex. 26, Failure Investigations/R002 History Review, at 12.
26           32.    In a February 2004 email to Bard’s interventional sales force charged with
27    communicating with the interventional radiology public, Bard communicated that testing
28    of the Recovery showed that it performed “just as well as the SNF in terms of migration

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 1    resistance.” Email from Mary Edwards, February 13, 2004, attached as Exhibit 29, BPV-
 2    17-00164702-710, at 704.
 3           33.      At approximately the same time it was telling interventional radiologists that
 4    Recovery performed as well as the SNF with respect to migration resistance,
 5                 a. A February 25, 2004, internal test showed that the Recovery filter did not
 6                    perform as well as the SNF in Bard’s migration resistance testing and in
 7                    certain instances failed to meet its product performance specifications.
 8                    Email from Alex Tessmer to Robert Carr, Feb. 25, 2004, BPVE-01-
 9                    00410985-1019, attached as Exhibit 30;
10                 b. In a February 26, 2004, email between Bard employees Janet Hudnall and
11                    David Rausch Hudnall explained that “[w] e knew very little about the long-
12                    term clinical performance of this device when we launched it. After a year
13                    of commercialization, there are still many questions that need to be
14                    answered. One thing we do know, however, is that Recovery does not
15                    always stay centered in the cava. In fact, physicians will often find that it is
16                    tilted quite a bit when they go to retrieve it even though it seemed perfectly
17                    centered upon deployment.” Ex. 28, at BPVE-01-00373887;
18                 c. Rausch agreed: “you are right; now that we have more experience with
19                    Recovery the positioning of tilt-resistance should probably be down
20                    played.” Id.
21           34.      When Bard conducted migration-resistance testing comparing the Recovery
22    filter against the SNF and competitive devices in March 2004, the Recovery performed
23    worse than the SNF on every test, finished last or second to last among all tested devices
24    on every test but one (on which it finished third to last), and failed Bard’s own standard
25    for migration resistance on several tests. Characterization of Recovery Filter Migration
26    Resistance in Comparison to Competitive Product Phase 1, BPVE-01-00276094, attached
27    as Exhibit 31, at 97-99. Indeed, at the 28 millimeter IVC test, the Recovery had
28    migrations at less than 50 mmHg; and at a temperature of 37 degrees Celsius (plus or

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 1    minus 2 degrees), the average resistance for the Recovery was 47.5 mmHg with a low
 2    resistance of 32.1 mmHg (well below Bard’s threshold of 50 mmHg). Id. at 99.
 3          35.     This March 2004 testing further confirmed that the Recovery did not
 4    perform as well as the SNF in Bard’s migration-resistance testing, and in certain
 5    instances, failed to meet its product performance specifications. Email from Alex
 6    Tessmer to Charlie Benware and others, Mar. 24, 2004, BPVE-01-00330122, attached as
 7    Exhibit 32.
 8          36.     Bard also knew the Recovery performed worse than competitor filters as
 9    well as the SNF. By March 25, 2004, based on migration resistance comparison testing
10    between the Recovery and competitive filters, Bard reached the following conclusion:
11    “[T]he migration resistance of the RNF appears comparable to the Gunther Tulip Filter
12    throughout all simulated IVC diameters. The other filters Simon Nitinol Filter, Greenfield
13    SF, Greenfield Ti, Optease and TrapEase seem to have a greater resistance to migration in
14    comparison to the RNF and Gunther Tulip filter.” Ex. 26, Failure Investigations/R002
15    History Review, at 14; Engineering Test Report No. ETR-04-03-02, BPV-17-01-
16    00001198–208, attached as Exhibit 33, at 208.
17          37.     The head of Bard’s Research & Development team, its Vice President of
18    Research & Development, did not understand at the time of the March 2004 migration
19    testing that the IVC can expand by 25 to 50 percent and, therefore, Bard’s design did not
20    take into account the IVC’s real-world performance. Ex. 21, DeCant Dep. at 70:16-71:17,
21    326:22-328:24.
22          38.     According to Natalie Wong, Bard’s Quality Engineering Manager for New
23    Product Development, the Recovery was also worse than the SNF with regard to filter-
24    related deaths and filter fracture. Deposition of Natalie Wong, Oct. 18, 2016, attached as
25    Exhibit 34, at 77:10-78:12; 111:16-112:18. Nor was it as safe as competitor filters, since
26    the Recovery had a higher rate of deaths and fractures. Id. at 77:16-78:12; 112:19-22.
27          39.     Concerning the Recovery’s performance against its 50 mmHg (50
28    millimeters of mercury) standard, Bard’s engineering staff observed “[y]ou will quickly

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 1    notice that there were values below 50.0 mmHG acceptance criteria for all three Starguide
 2    manufactured lots . . . .This points to the fact that there is an issue with the migration
 3    resistance testing.” Ex. 32, at BPVE-01-00330122.
 4           40.    In a Health Hazard Evaluation Bard acknowledged that in 50mmHG
 5    migration resistance testing the Recovery “had the lowest mean migration resistance” of
 6    all of the IVC filters evaluated. “Health Hazard Evaluation, dated Dec. 17, 2004, BPVE-
 7    01-01019821-25, attached as Exhibit 35, at 01019822.
 8           41.    On April 14, 2004, Bard learned of the second death from a Recovery filter
 9    migrating to the heart of a patient. Memo from Uelmen to Palermo dated June 11, 2004,
10    BPV-17-01-00153581-88, attached as Exhibit 36, at 88. Following that death, Bard
11    understood that the IVC could expand beyond its normal size. Ex. 21, DeCant Dep. at
12    326:22-327:13. And, at that time, Bard understood that the Recovery was designed in a
13    way that did not account for how the IVC actually behaved. Id. at 328:2-329:8.
14           42.    On April 14, 2004, in light of this second death, the Recovery was placed on
15    an internal “QA Hold” pending completion of a remedial action plan. Ex. 26, Failure
16    Investigations/R002 History Review, at 14; Deposition of Chad Modra, Mar. 28, 2013,
17    attached as Exhibit 37, at 181:1-19.
18           43.    Physicians were not informed that Bard had placed an internal hold on the
19    Recovery. Ex. 37, Modra Dep. at 183:9-12.
20           44.    Rather than communicating its findings to the medical community, Bard
21    created a “Crisis Communication Plan” which included hiring a public relations firm to
22    handle the negative press if the situation with its failing retrievable filters were to be
23    “exposed” in the media. See Crisis Communication Plan, BPV-17-01-00164733-164788,
24    attached as Exhibit 38.
25           45.     Bard’s messaging to the public was to be: “Bottom line: good filter, severe
26    case, bad outcome, deep regret.” Bard determined that “[t] his [was] the simple story we
27    should repeat again and again. Comparison with other filters is problematic in many ways,
28    and we should avoid/downplay this as much as possible. When pressed, we [Bard] simply

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 1    paraphrase … that estimates based on the available data suggest that there is no significant
 2    difference in the rates of these complications between any of the devices currently
 3    marketed in the U.S., including the Recovery device.” Email from John Lehman, April
 4    15, 2004, BPV-17-01-00165419, attached as Exhibit 39.
 5           46.      Bard described the situation with Recovery failures after the fact as so dire
 6    in the 2004-2005 time frame that it needed to be held together with “scotch tape, smoke,
 7    mirrors, crying etc.” Email from Jason Greer to Janet Hudnall, Mar. 16, 2006, BPVE-01-
 8    00946624, attached as Exhibit 40.
 9           47.      Despite Bard’s internal knowledge about the Recovery’s problems, the QA
10    Hold was lifted on April 25, 2004, and Bard continued to sell the Recovery filter.
11    Remedial Action Plan, April 21, 2004, BPV-17-01-00153578, attached as Exhibit 41, at
12    153587.
13           48.      In all, seven migration deaths associated with the RNF were reported
14    between April and December 2004. (April 13, 2004, May 8, 2004; May 30, 2004; July 24,
15    2004; August 16, 2004; November 15, 2004; November 28, 2004) Recovery Filter
16    Detached Limbs—Patient Comparison Matrix dated November 1, 2005, BPV-17-01-
17    00035618, attached as Exhibit 42, at 35615-39.
18           49.      During this critical period, Bard knew that the Recovery:
19                 a. had a fracture rate that was tens of times higher than other filters on the
20                    market. Health Hazard Evaluation, July 9, 2004, BPV-17-01-00002145
21                    attached as Exhibit 43.
22                    b.     was tilting in up to 30 percent of the implantations. Email chain with
23                           John McDermott, Len DeCant, and others, May 13, 2004, attached as
24                           Exhibit 44, BPVE-01-00036095-96, at 96.
25                    c.     was measurably less safe than the SNF and competitor devices as it
26                           related to death caused by: 1) migration 2) caval perforation 3) caval
27                           perforation 4) caval obstruction or 5) PE/acute respiratory event.
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 1                         Email from Natalie Wong to Doug Uelemen, May 20, 2004, BPV-01-
 2                         00511127, attached as Exhibit 45.
 3                  d.     had a significantly higher rate of complications from other filters
 4                         including the SNF at “a 95% confidence.” Id. (stating that at “a 95%
 5                         confidence, there IS a significant difference between Recovery,
 6                         Gunther Tulip, Bird’s Nest and SNF.”).
 7           50.    Bard industry standards and regulatory expert Christine Brauer agreed that a
 8    reasonably prudent company should recognize and assume the enormity of a safety signal
 9    is higher than the actual rate derived from MAUDE and sales data rate analysis.
10    However, Bard took no meaningful action to identify a root cause of failure or warn
11    patients, physicians, or regulators about these deadly problems. Ex. 7, 2017 Brauer Dep.
12    at 213:11-214:14.
13           51.    Bard’s June 30, 2004 Health Hazard Evaluation reports “Migration of a
14    thrombus-encased Recovery (IVC filter) has been reported in 10 patients” among 12
15    migrations reported as of that date. Four of the 12 resulted in death to the patients. The
16    author of the HHE, Dr. David Ciavarella, Bard’s Medical Director, further states, “The
17    root cause of the thrombus-associated migration events is judged to be thrombus-induced
18    pressure increase in the IVC, leading to acute IVC expansion beyond the design limits of
19    the filter,” and as to one of the migrations he states “the ‘malfunction’ is best understood
20    as a limitation of the ability of the device to carry out its intended function.” Updated
21    Health Hazard Evaluation, June 30, 2004, attached as Exhibit 46, BPVEFILTER-
22    01000014836-39, at 39.
23           52.    Bard stated in an internal Frequently Asked Questions (FAQ) document
24    about the Recovery that it was “rigorously tested for all physical performance
25    characteristics according to [Bard’s] established test methods and protocols and was found
26    to meet all test specifications and requirements.” Bard Recovery FAQ, July 15, 2004,
27    BPVE-01-00268921-923, attached as Exhibit 47, at 923.
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 1           53.    Less than two weeks later, on July 26, 2004, after the Recovery had been on
 2    the market for nearly a year, Len DeCant, Bard’s Vice President of Research and
 3    Development, was told by his employee: “I think we should try to better quantify and
 4    understand how much these vessels expand if we are designing a device to anchor on/in
 5    the wall.” Email from John McDermott to Len DeCant, July 26, 2004, BPV-DEP-
 6    00014246-247, attached as Exhibit 48, at 46 Moreover, Bard as of late August 2004 did
 7    not have reliable controlled clinical studies that “most educated individuals and physicians
 8    would accept as eveidence [sic] of ‘proof’.[sic] the safety and efficacy of the Recovery®
 9    Vena Cava Filter.” Internal Q&A, Aug. 30, 2004, BPVE-01-00033810, attached as
10    Exhibit 49, at 12.
11           54.    Despite its knowledge that the Recovery’s overall complication rates were
12    far greater than its competitor devices, Bard told the its employees in a “script” not to be
13    deviated from, that Recovery complication rates were comparable to those reported in the
14    literature and the MAUDE database for other IVC filters, including that migration was not
15    occurring at an excess frequency with the Recovery when compared to competitor filters.
16    Id. at BPVE-01-00033815; Ex. 47, at BPVE-01-00268921-23.
17           55.    Bard marketed the Recovery as a “marked improvement over currently
18    available devices.” 2004 Recovery Marketing Brochure, BPV-17-01-00007760-763,
19    attached as Exhibit 50, at 7761. “Currently available devices” included the SNF and
20    competitor filters at the time Recovery was launched into the market. Deposition of Jack
21    Sullivan (Vols. I and II), Sept. 16, 2016 and November 3, 2016, attached as Exhibit 51
22    and 84, at 80:16-81:12.
23           56.    By September 2, 2004, Bard was aware of 32 incidents of limbs fracturing
24    on implanted Recovery filters. Remedial Action Plan, Sept. 2, 2004, BPV-17-01-
25    00034860-887, attached as Exhibit 52. As a result, Bard instituted a Remedial Action
26    Plan to address the problem of fractured arms. Id. But Bard concluded that there was “no
27    single root cause for the reported limb detachments,” so “no field remedial action [was]
28    planned.” Id. at 74.

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 1           57.     Bard’s December 17, 2004, Health Hazard Evaluation stated, “An analysis
 2    of reporting rates of serious adverse events for all inferior vena cava filters, as determined
 3    by analysis of the MAUDE and IMS databases by a consultant, revealed that reporting
 4    rates for Recovery are significantly higher than other filters.” Ex. 35 at BPVE-01-
 5    01019821. The HHE also noted that “[r]eports of death, filter migration (movement), IVC
 6    perforation, and filter fracture associated with Recovery filter were seen in the MAUDE
 7    database at reporting rates that were 4.6, 4.4, 4.1, and 5.3 higher, respectively, than
 8    reporting rates for all filters. These differences were all statistically significant.” Id. at
 9    22.
10           58.     Regarding the effectiveness of Bard’s or any other IVC filter, Bard’s
11    Medical Director, Dr. David Ciavarella, stated in the HHE, “The existing literature is of
12    poor quality, with insufficient randomized, controlled trials (RCT) to definitively establish
13    the effectiveness of IVC filters.” Id.
14           59.     On January 4, 2005, another Remedial Action Plan observed: “In the
15    MAUDE dataset, the RNF demonstrated: a consistent, statistically significant and
16    potentially clinically important higher rate of reporting adverse events in the several
17    analyzed categories. . . . the data and [a consultant’s] analysis provided two significant
18    signals that further investigation particularly in relation to migration and fracture is
19    urgently warranted. . . . Of greatest concern were reports of migration and fracture.
20    Remedial Action Plan, January 4, 2005, attached as Exhibit 53, BPVE-01-01019773-825,
21    at 19777-78.
22           60.     On April 19, 2005, Chris Ganser, Corporate V.P. of Regulatory Sciences
23    and Head of Quality Assurance, reported to the CEO and COO of C.R. Bard comparative
24    MAUDE/IMS data which was compiled by Bard for IVC filter fatalities, fractures and
25    migrations (through Q4 2004) showing a higher rate of migration and fatalities with the
26    Recovery versus the SNF and competitor filters. He also reported on a significantly
27    greater number of fractures compared to SNF’s 15 year marketing history. This data was
28    from Bard’s own internal adverse event reports and actual sales data and revealed the

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 1    following comparisons to the SNF which was Recovery’s predicate device: 3300%
 2    greater rate of Recovery migrations (34 total); 14 deaths involving Recovery versus zero
 3    for SNF, including nine from migrations of the device to the heart and five from
 4    pulmonary emboli; and 51 Recovery fractures, 18 with metal struts embolizing to heart or
 5    lungs, and three requiring surgery to remove, including one open heart surgeries. Email
 6    from Chris Ganser to T. Ring, April 19, 2005, BPVE-01-00434275-76, attached as
 7    Exhibit 54.
 8          61.     By July 2005, Bard’s sales force discussed internally that the SNF, the
 9    predicate to RNF, was the “safest filter on the market.” Email from Jason Greer to Nicole
10    Alpie and others, July 16, 2005, BPV-DEP-00005665-66, attached as Exhibit 55, at 66.
11          62.     Chris Ganser again reported on August 3, 2005, to CR Bard CEO and COO,
12    comparative MAUDE/IMS data for IVC filter fatalities, fractures and migrations
13    compiled by Bard through the second quarter of 2005. The data showed a higher rate of
14    migration and fatalities with the Recovery versus the SNF and competitor filters, and
15    significantly greater number of fractures compared to SNF’s 15-year sales history.
16    Compared to the SNF, the data revealed: 4500% greater rate of Recovery migrations; 16
17    deaths involving Recovery versus zero for SNF, including 11 from migrations of the
18    device to the heart and five from pulmonary emboli the Recovery was intended to prevent;
19    and 68 Recovery fractures, 25 with metal struts embolizing to heart or lungs and 4
20    requiring surgery to remove. Executive Summary, August 3, 2005, BPV-17-01-
21    00170083-84, attached as Exhibit 56.
22          C.      The G2 Filter.
23          63.     Bard then developed a next generation Recovery filter, known first as the
24    “G1A improved recovery filter” and later as the “G2” filter, with the objective of
25    addressing and minimizing problems of filter migration and filter arm fracture with the
26    Recovery. Janet Hudnall, Avijit Mukherjee, and Robert Carr email chain, August 25-26,
27    2004, attached as Exhibit 57, BPVE-01-00008821; Recovery Filter PowerPoint
28    presentation, August 26, 2004, attached as Exhibit 58, BPVE-01-00009466-85, at 69-70.

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 1             64.   Bard continued to sell the Recovery while it developed the G2. Email from
 2    Janet Hudnall to John McDermott, Feb. 11, 2005, attached as Exhibit 59, BPVE-01-
 3    00167251 (discussing options for “stock recovery/rotation” for Bard’s vena cava filters
 4    once G1A/G2 filter was cleared for sale); Failure Investigations/R002 History Review,
 5    attached as Exhibit 60, BPVEFILTER-01-00003802, at 11 (G2 project started 9/13/04;
 6    “9/2005 G2 is released, RNF is discontinued end of the month”).
 7             65.   The performance standard and predicate device for the G2 is the Recovery
 8    filter. Traditional 510(k) G2 Filter with Femoral Delivery, attached as Exhibit 61, at
 9    FDA_PRODUCTION_00000048-49, at 49.
10             66.   There was a “statistically significant difference” between the performance of
11    the G1A/G2 filter and that of the SNF in migration resistance testing when compared to
12    the SNF. G1A Recovery Filter Femoral System Design Verification and Validation
13    Report, attached as Exhibit 62, BPV-17-01-00001134-153, 46.
14             67.   Bard’s labeling represented that the G2 Filter was safe and effective for
15    permanent implantation in the human body for the prevention of pulmonary embolism.
16    G2 Filter System Instructions for Use, attached as Exhibit 63, BPV-17-01-00137389-92,
17    at 89.
18             68.   Bard’s “Patient Questions & Answers” document for the G2 filter states that
19    the G2 filter is designed to be a permanent implant and will not need to be removed,
20    repositioned, or replaced. G2 Filter System, Patient & Answers, attached as Exhibit 64,
21    BPV-17-01-00137624-32, at 29.
22             69.   BARD represented in marketing materials including those distributed on the
23    internet directly to patients that the G2 had increased migration resistance, improved
24    centering, and enhanced fracture resistance. Marketing brochure for G2 Filter System for
25    Permanent Placement, attached as Exhibit 65, BPV-17-01-00142912-15; Marketing
26    Brochure for Recovery G2 Filter System, attached as Exhibit 66, BPV-17-01-00137588;
27    see also 2005 G2 Filter-FAQs, attached as Exhibit 67, BPV-17-01-00062020-22, at 22
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 1    (G2 Filter System was “more robust design” and represents Bard’s “best technology”
 2    offered to its customers).
 3           70.    Bard expert witness Dr. Brauer testified that documents like those cited in
 4    the preceding paragraph require accurate information as they are considered labeling.
 5    Deposition of Christine Brauer, May 23, 2014, attached as Exhibit 68, 216:1-217:20.
 6           71.    On August 29, 2005, the FDA cleared the G2 device for market with a
 7    permanent indication only. Letter from FDA to Bard Peripheral Vascular, August 29,
 8    2005, attached as Exhibit 69, FDA_PRODUCTION_00000055-56.
 9           72.    The IFUs for the Recovery and G2 Filter Family failed to warn of the
10    increased risk of adverse events, such as migration or movement of the filter, with those
11    filters versus the SNF and competitor filters—despite Bard knowing this was important
12    information for a physician to be aware of. Ex. 63, at BPV-17-01-00137389-92; Ex. 34,
13    Wong Dep. at 88:2-89:3; Ex. 84, Sullivan Dep. at 464:25-466:22.
14           73.    Bard’s former Western Regional Sales Manager, Jack Sullivan, testified that
15    in marketing the G2 filter Bard represented to physicians, patients and the public that: the
16    Recovery was properly and thoroughly tested, Ex. 51, Sullivan Dep. at 62:7-18; the
17    Recovery filter was just as migration resistant as the SNF, id. at 96:10-97:4; migration
18    was not occurring more frequently with the Recovery versus competitor filters, id. at
19    68:16-70:20; the Recovery filter was better than the SNF and its competitors, id. at 80:16-
20    81:12; the Recovery was more likely to stay centered and avoid tilt than other filters, id. at
21    81:13-83:21; and the G2 was even more resistant to fracture and migration than the
22    Recovery, id. at 92:21-93:8.
23           74.    The IFUs for the G2 (and Recovery) filters include identical language
24    implying that the risk of various adverse events associated with the G2 Filter Family are
25    the same as all other IVC filters. Ex. 63, at BPV-17-01-00137389-92 (under “Potential
26    Complications” stating “Movement or migration of the filter is a known complication of
27    vena cava filters.”); Recovery Filter IFU, 2004, attached as Exhibit 70, BPV-COMP-
28    00001317-19, at 17 (same). For example, those IFUs state that migration and movement

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 1    are “known complications of vena cava filters.” Id. This is the same language Bard
 2    conveyed to physicians in its “Dear Doctor” and “Dear Colleague” letters. 2004 Recovery
 3    Filter System Dear Doctor Letter, attached as Exhibit 71, BPVE-01-00303515-16, at 16.
 4    There is nothing about that language that advises physicians or patients of the increased
 5    risk of those adverse events with the Recovery/G2 Filter Family versus the SNF or
 6    competitor IVC filters—it is just a general statement about IVC filters. Ex. 34, Wong
 7    Dep. at 88:2-89:3; Ex. 51 and 84, Sullivan Dep. at 54:10-55:6, 56:2-57:2, 59:15-61:4;
 8    460:3-466:22.
 9           75.    Dr. Brauer testified that as to increased migration resistance and enhanced
10    fracture resistance the statements in Bard’s labeling and marketing materials for the G2
11    were not accurate when comparing the G2 to the SNF. Ex. 68, 2014 Brauer Dep. at
12    224:6-225:15.
13           76.    Despite advertising the G2 filter as being 12 times more resistant to fracture,
14    Bard did not conduct thorough testing to support that claim. Bard’s engineers did not
15    conduct thorough testing because it concluded that data “would still fall outside of the
16    acceptable range” and the engineers “didn’t think the answer would support our design
17    change as a viable option.” Email chain between Micky Graves and Charlie Simpson,
18    March 23, 2006, attached as Exhibit 72, BPVE-01-01225832.
19           77.    By November 2005, Bard was aware of a concerning signal for perforations
20    with the G2 that needed to be investigated. On November 10, 2005, Chris Ganser, Bard’s
21    V.P. of Quality Assurance, Environmental Services & Safety, wrote: “It’s obvious from
22    the table below and the attached MAUDE summary that there are some major
23    discrepancies regarding the number of complaints, units sold, rates, etc. for G2. Your first
24    cut at MAUDE Analysis sends some signals for caval perforation and deployment that
25    have to be investigated expeditiously.” Email chain between Chris Ganser, Gin Schultz,
26    Cindi Walcott, and others, November 7-14, 2005, attached as Exhibit 73, BPVE-01-
27    01510714-16, at 14.
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 1           78.    The reported perforation rate for the G2 filter in November 2005 was
 2    approximately ten times that of the SNF. Bard internal spreadsheet of Filter Sales and
 3    MAUDE data through November 7, 2005/Q3 2005, attached as Exhibit 74, BPVE-01-
 4    01510717 (showing “Caval Perforation” rates of .1336% for G2 and .0090% for SNF).
 5           79.    Bard was also aware by late 2005 that the G2 did not have increased
 6    migration resistance over the Recovery or the SNF and in fact appeared to have increased
 7    rates of caudal migration than both the Recovery and SNF, despite Bard’s representations
 8    to the contrary. Ex. 62, BPV-17-01-00001134-153, at 146, 151 (initial product
 9    performance specifications for migration resistance for G2 not equivalent to SNF); Ex. 34,
10    Wong Dep., at 146:13-23, 147:21-148:4 (Recovery and SNF were both more resistant to
11    caudal migration than the G2 Filter); Meridian Vena Cava Filter and Jugular Delivery
12    System Product Performance, attached as Exhibit 75, BPV-17-01-00148748-49, at 48
13    (Bard notes in internal performance specifications for Meridian filter that its G2 line of
14    filters “have been shown to have undesirable caudal migration resistance”); Ex. 7, Brauer
15    2017 Dep. at 249:19-250:6 (Based on internal Bard documents, in the first three to six
16    months that the G2 was on the market it showed stability problems that were not an
17    improvement over the SNF).
18           80.    David Ciavarella, M.D., Bard’s medical and clinical affairs director, stated
19    in a December 23, 2005, email, “The G2 is a permanent filter, we also have one (the SNF)
20    that has virtually no complaints associated with it. Why shouldn’t doctors be using that
21    one rather than the G2?” Email chain between David Ciavarella, Cindi Walcott, and
22    others, December 20-27, 2015, attached as Exhibit 76, at BPVE-01-00028224.
23           81.    Bard knew from reports by mid-2006 that the G2 had a problem with caudal
24    migration and tilt that it didn't expect when they launched the G2, and these were caused
25    by design problems with the G2 that needed to be fixed before it launched the EVEREST
26    study of its IVC filters. Ex. 7, Brauer 2017 Dep. at 242:16-243:15; 257:9-258:19.
27           82.    By February 15, 2006, a Bard Health Hazard Evaluation characterized the
28    “Severity” of the migration problems with the G2 as “Critical” and stated that “the cases

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 1    reported in the literature have not been as frequently associated with significant caudal
 2    movement (such as down to the iliac veins) or filter tilting and malpositioning as have
 3    been reported for the G2 filter” and that a “high percentage of caudal migrations
 4    accompanied by significant filter tilting and limb displacement.” Health Hazard
 5    Evaluation, Feb. 15, 2006, BPVEFILTER-01-00008355-57, at 55, 57, attached as Exhibit
 6    77.
 7           83.     The G2 failed to perform as well as the SNF and Recovery filters on Bard’s
 8    caudal migration push test, Project 8049. The September 19, 2006, report from that
 9    testing stated that the SNF was statistically superior to the G2 and Recovery in migration
10    resistance. Caudal Migration Test Method Development and G2 Filter Resistance Test
11    Report, attached as Exhibit 78, BPVE-01-007895432-55.
12           84.     On November 30, 2008, a Modified Recovery (G2) filter investigation under
13    a heading “What is G2 Trend Relative to RNF?” contained the following data
14    demonstrating the G2 was inferior to the Recovery as to caudal migration, tilt and
15    perforation:
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25    G2 and G2 X Fracture Analysis, November 30, 2008, attached as Exhibit 79, BPVE-01-
26    01239757-775, at 774.
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 1           85.    Caudal migration is a serious complication with an IVC filter that can be
 2    associated with serious adverse events and consequences. Ex. 7, Brauer 2017 Dep. at
 3    240:4-22.
 4           86.    By April 2006, Bard was aware that caudal anchors had been added to the
 5    Greenfield IVC filter to deal with caudal migration. Memo from Natalie Wong re G2 Pre-
 6    Product Assessment Team Minutes-Caudal Migration, April 28, 2006, attached as Exhibit
 7    80, BPVE-01-00717924-25, at 24 (discussing that Greenfield filter was redesigned by
 8    flipping two hooks to prevent caudal migration after problems with caudal migration
 9    emerged during the Greenfield clinical trial).
10           87.    By March 2, 2006, Bard determined that the G2 filter propensity for caudal
11    migration represented an “unacceptable risk” of serious injury and death. G2 Caudal
12    Migration report, March 2, 2006, attached as Exhibit 81, BPVE-01-00720835.
13    Nonetheless, Bard took no “preventative action” to warn physicians or patients about the
14    “unacceptable risk.” Wong Dep. at 155:10-25; 156:10-12; 179:4-7; 181:18-22.
15           88.    Bard did not share with the FDA pertinent safety testing data concerning
16    migration resistance for its IVC filters and upon discovery that this information was not
17    shared with the FDA, Bard contacted its legal counsel instead of the FDA. Memo from
18    Brian Barry to John Weiland re Competitive Filter Data, May 2, 2005, attached as Exhibit
19    82, BPV-01-00098737.
20           89.    Bard’s own internal complaint tracking data indicates that from market
21    release through July 2010, the G2 Filter had a reported migration failure rate of 0.121%
22    (1.21 out of every 1000) of all devices sold and a reported perforation failure rate of
23    0.132% (1.3 out of every 1000), which applying the “consensus” of 95-99% of similar
24    events not reported, the actual rates could have been as high as 121 out of every 1000
25    (12.1%) and 130 out of 1000 (13%), respectively. This figure was approximately fifteen
26    times greater than the average for all competitor devices of .008% (or .8% if applying the
27    consensus non-reported events rate) for migrations and .013% (1.3%) for perforations.
28    Bard IVC filter model sales and complications comparison spreadsheet, attached as

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 1    Exhibit 83, BPVEFILTER-01-00050487-88; Ex. 113, Ciavarella Dep, at 130:14-131:23
 2    (“general consensus” that only 1-5% of adverse events are voluntarily reported).
 3           90.    Bard’s EVEREST clinical trial revealed that 15 of 85 Patients (18%)
 4    experienced filter tilt > 15 degrees, and that there was highly statistically significant
 5    relationship between filter tilt and filter migration (p < 0.001). Binkert, et al., Technical
 6    Success and Safety of Retrieval of the G2 Filter in a Prospective, Multicenter Study, J.
 7    Vasc. Interv. Radiol. 2009, attached as Exhibit 85, at 1452.
 8           91.    Dr. Kris Kandarpa, the Medical Monitor of the EVEREST trial, expressed
 9    his concern about the approximately 20% of reported tilts and “thought that Bard should
10    consider a redesign based on this information.” He wanted to know if those conducting
11    the study were concerned that “almost 50% of patients have a reported AE/SAE” (adverse
12    or serious adverse event). Medical Monitoring Adjudication Meeting Minutes, August 28,
13    2006, attached as Exhibit 86, BBA-00012802-821, at 803. Dr. Brauer agreed Bard should
14    have taken “certain follow-up actions” in response to Dr. Kandarpa’s concerns. Ex. 7,
15    Brauer 2017 Dep. at 274:18-275:4.
16           92.    The October 26, 2006 Medical Monitoring Adjudication Meeting Minutes
17    states, “Dr. Kandarpa noted that approximately 30% of the patients in this trial had a
18    device observation,” and also “expressed concern over the number of device observations
19    but noted that it was not in his charter to determine study stopping.” Dr. Kandarpa also
20    noted that “half the technical observations are tilts.” Medical Monitoring Adjudication
21    Meeting Minutes, October 26, 2006, attached as Exhibit 87, BBA-00013699-715, at 700.
22           93.    A May 28, 2008, Bard PowerPoint presentation reviewing its IVC filter
23    product line included a Strengths-Weaknesses-Opportunities-Threats (SWOT) analysis
24    which identified among Bard’s “Weaknesses” as to IVC filters: (1) “Lack of thorough
25    understand dynamics of caval anatomy impacting test results,” (2) “We have historical
26    reactive/evolution design mindset,” (3) “Product complications – forcing focus on reactive
27    designing??” Bard Peripheral Vascular Filter Franchise Review, May 6, 2008, attached as
28    Exhibit 88, BPVE-01-00622862-900, at 67. Dr. Ciavarella agreed that Bard did not “have

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 1    any good models or understanding of what happens to the cava.” Ex. 84, Ciavarella Dep.
 2    at 374:1-14; see also Ex. 21, DeCant Dep. at 70:22-71:17 (Bard continued to learn about
 3    the vena cava after its IVC filters were on the market).
 4           94.    By June 2008, Bard had identified the need to make material improvements
 5    to the G2 filter to reduce migration, tilt, fracture, and perforation. Bard PowerPoint
 6    Presentation, attached as Exhibit 89, Ex. 534 to Chris Ganser Deposition (Oct. 11, 2016),
 7    at 3-13; G2 Platinum presentation, June 2008, attached as Exhibit 90, BPVE-01-
 8    00624026, at 33. At the time, Bard tied caudal migrations to causing tilt, perforation, and
 9    fractures. Ex. 85 at 8, 12; Ex. 86, at 41.
10           D.     The G2X Filter.
11           95.    On March 10, 2008, Bard submitted a special 510(k) application (K080668)
12    seeking to modify its G2 filter (which was the predicate device) and seeking clearance for
13    what would be known as the G2 Express. G2 EXPRESS™ Filter System – Femoral and
14    Jugular/Subclavian Delivery Kits 510(k) Summary, available at
15    https://www.fda.gov/cdrh/510k/K080668.pdf (last accessed Oct. 2, 2017).
16           96.    The only modification to the G2X from the G2 was the addition of a snare
17    hook to improve retrievability of the filter; the G2 and G2X filters are the same filter.
18    Deposition of Patrick McDonald, July 29, 2016, attached as Exhibit 91, at 103:23-104:1;
19    Ex. 34, Wong Dep. at 182:18 – 182:7; Email chain between Brian Hudson, Kevin Bovee,
20    and Chad Modra, June 28, 2011, attached as Exhibit 92, BPVEFILTER-01-00037661-62.
21           97.    By November 30, 2008, Bard had further test results and information that
22    the G2 and G2X filter had significantly higher rates of caudal migration, tilt, and
23    perforation than even the Recovery. Ex. 79, BPVE-01-01239757, at 74.
24           98.    A 2009 study demonstrated that after 180 days, the Bard IVC filters began
25    to fracture. F.C. Lynch & S. Kekulawela, Removal of the G2 Filter: Differences between
26    Implantation Times Greater than and Less than 180 Days, 20 J. Vasc. Interv. Radiol.
27    1200 (2009), attached as Exhibit 93. Subsequently, in 2010, another study demonstrated
28    that Bard’s filters had an increasing fracture rate over time and an expected fracture rate

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 1    of approximately 25 percent at 50 months. W. Nicholson et al., Prevalence of Fracture
 2    and Fragment Embolization of Bard Retrievable Vena Cava Filters and Clinical
 3    Implications Including Cardiac Perforation and Tamponade, 170 Arch. Intern. Med. 1827
 4    (2010), attached as Exhibit 94.
 5           99.    Bard knew that fracture, tilt, and perforation were caused by migration,
 6    including caudal migration. Ex. 85, at 8, 12; Bard Idea POA Eclipse Anchor Filter,
 7    attached as Exhibit 95, BPVE-01-02077858, at 58 (“This improvement in caudal
 8    migration resistance should reduce subsequent tilt, fracture, and penetration.”). Bard
 9    knew the G2 and G2X filters had increased rates of caudal migration as compared to the
10    Recovery. Ex. 95, at BPVE-01-02077858. Bard was aware that the physician perception
11    was that “design sacrifices” were made for its optional filters that led to higher rate of
12    movement or migration, which Bard knew led to an increased risk of fracture. Id.
13           E.     The Eclipse Filter.
14           100.   Bard’s next generation filter, the Eclipse, was cleared for sale in the United
15    States on January 14, 2010. Deposition of Daniel Orms, Aug. 16, 2016, attached as
16    Exhibit 96, at 134:4-134:17.
17           101.   The Eclipse was predicated on the G2 and G2X, and was represented as an
18    improvement over the G2X filter. Id. at 135:19-22; see also Ex. 84, Sullivan Dep. at
19    531:4-8, 533:18-22; Deposition of Christopher Smith, Aug. 3, 2017, attached as Exhibit
20    97, at 144:16-20; Deposition of Michael Randall, Feb. 2, 2017, attached as Exhibit 98, at
21    267:11-14.
22           102.   The Eclipse name change was merely to “break with the baggage associated
23    with the previous versions [Recovery and G2].” Email from Filter Marketing to Bill
24    Little, Apr. 27, 2010, attached as Exhibit 99, at BPVE-01-00580608. But, the Eclipse
25    “was the same as G2X in every way but one.” Id. That one difference – electropolishing
26    – was to be “consistent with emerging industry standards.” Vail Vena Cava Filter
27    Concept POA, Oct. 14, 2009, attached as Exhibit 101, BPV-17-01-00145692-99, at 95.
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 1           103.      The Eclipse was marketed at a time when Bard understood that its venture
 2    into the retrievable filter space has been a public health disaster and that Bard needed to
 3    completely redesign its filter. Ex. 85, at 13-16.
 4           104.      By August 2010, Bard had identified 172 fractures in G2, G2X, and Eclipse
 5    filters. Filter Fracture Analysis, August 2010, BPV-17-01-00170378-85, at 79, attached
 6    as Exhibit 100. Of those, 60% were discovered at retrieval – meaning most fractures
 7    continued not to be discovered without doctor invention. Id. It also knew that both the
 8    number of fractures and rate of fractures had increased since the full market release of the
 9    G2. Id. at 81.
10           105.      Instead of pulling out of the retrievable filter market while it fixed its filters’
11    known design flaws, Bard created the Eclipse (originally named “Vail”) as a re-branding.
12    Ex. 100, BPV-17-01-00145692-99, at 98 (“We will take advantage of the opportunity to
13    rebrand the filter with this launch. We will promote it with a new name, new packaging,
14    and new product codes.”).
15           106.      During this same time period, Bard was also actively engaged in
16    development of its Denali filter. Deposition of Brett Baird, June 9, 2016, attached as
17    Exhibit 102, at 262:12-20.
18           107.      Nevertheless, Bard promoted the Eclipse to its sales personnel as more
19    resistant to fracture and as having enhancements to a number of complications seen in
20    prior iterations, which doctors were interested in. Ex. 97, Smith Dep. at 141:18-24, 126:6-
21    18, 130:6-20, 156:5-156:25, 184:9-21.
22           108.      However, Abithal Raji-Kubba, Bard’s Vice President of Research and
23    Development, confirmed that there was no evidence that the Eclipse improved resistance
24    to fracture, migration or corrosion. Deposition of Abithal Raji-Kubba, dated July 18,
25    2016, attached as Exhibit 103, at 167:18-168:2.
26           109.      The Eclipse Product Performance Specification 3.1.7 addressed the “User
27              Need” that the “filter does not migrate” but included no performance standard
28              or testing relating to caudal migration resistance. Design History File Index,

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 1                Exhibit 104, BPV-17-01-00108342 at 473; First Supplemental Expert Report of
 2                David A. Kessler, M.D. (Mar. 3, 2017), attached as Exhibit 105, at 2.
 3           110.    In addition, Bard continued to apply the migration resistance standard of
 4    50 mmHg in a simulated IVC diameter of 28 mm, which was inadequate and not
 5    comparable to the SNF. Ex. 106, Design History File Index for the Eclipse, BPV-17-01-
 6    00108342, at 473; Exhibit 105, Kessler First Supp Report at 2.
 7           111.    Bard represented the Eclipse Filter as designed to be a permanent implant.
 8    Ex. 97, Smith Dep. at 155:6-156:4; Eclipse Patient Questions & Answers Brochure,
 9    attached as Exhibit 107, BPVEFILTER-01-00001631-32, at 32.
10           112.    An Eclipse patient brochure stated, “The Eclipse Filter does not have a time
11    limit in which it must be removed. Your physician can determine at which time it may be
12    appropriate to have your Filter removed.” Ex. 97, Smith Dep. at 158:1-159:5.
13           F.      Problems and Failures with all of Bard’s Retrievable IVC Filters.
14           113.    As part of its response to a deficiency letter Bard received from the FDA on
15    May 13, 2015, Bard stated that “the first SNF 510(k) was cleared on April 20th 1990
16    (K894703) and has been on the US market for 24 years as a permanent Inferior Vena
17    Cava (IVC) filter option. Throughout its over two decades of clinical use, no evidence
18    has been found to support a link between SNF permanent filter implantation and the
19    serious health consequences that have been an expressed concern from FDA regarding
20    removable IVC filters . . .” SNF Postmarket Surveillance Study Amendment: 522
21    Response, 2015, BPVEFILTER-01-00356101, attached as Exhibit 108, at 106.
22           114.    Bard’s June 2011 internal analysis demonstrated that the Recovery filter
23    fractured 55 times more often than the SNF; the G2 fractured more than 12 times as often
24    as the SNF, the G2X fractured 10 times as often as the SNF, and the Eclipse, even after
25    only a little over a year on the market, fractured over three and a half times as often as the
26    SNF. Ex. 5, BPVEFILTER-01-00037664.
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 1          115.   Chris Ganser was Vice President of Regulatory Sciences and Corporate
 2    Head (Vice President) of Quality Assurance, Regulatory Affairs and Medical Affairs
 3    testified as summarized below:
 4                 a.     Bard knew and should have communicated to physician and patients
 5                        statistically significant findings that Bard’s Recovery filters revealed
 6                        increased risks and complications compared to the predicate device.
 7                        Deposition of Christopher Ganser, Oct. 11, 2016, attached as Exhibit
 8                        109, at 68:9-69:10; 263:17-264:7.
 9                 b.     Bard knew and should have communicated to physician and patients
10                        that tilting was a condition that could put a patient at an increased
11                        risk of perforations, migrations, fracture, and could adversely affect
12                        the device’s ability to work for its intended purpose of stopping
13                        pulmonary embolisms. Id. at 71:5-72:9; 82:2-5.
14                 c.     Bard knew and should have communicated to physician and patients
15                        that tilting could lead to further movement of its filters that results in
16                        embedment making it irretrievable via a percutaneous approach. Id.
17                        at 72:22-75:4; 76:6-21; 78:11-79:3.
18                 d.     Bard knew but did not communicate to patients that an inability to
19                        retrieve a filter percutaneously may necessitate an open procedure.
20                        Id. at 78:11-18.
21                 e.     Bard knew, but did not, communicate to physician and patients to
22                        evaluate devices over time to make sure they stay centered. Id. at
23                        71:5-72:9.
24                 f.     Bard knew physicians and patients did not have access to Bard’s
25                        Bench testing of Bard filters and also knew that physicians and
26                        patients were unable to do their own risk benefit analysis. Id. at
27                        128:2-15.
28

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 1                 g.     Bard knew, but did not, communicate to physicians and patients its
 2                        internal analysis concluding G2 products were experiencing
 3                        undesirable risk of caudal migration. Id. at 292:18-294:9.
 4                 h.     Bard knew, but did not, communicate to physicians and patients and
 5                        the IFU did not say that the Recovery filter design did not have the
 6                        ability to carry out its intended function of preventing pulmonary
 7                        embolisms. Id. 268:4-269:6.
 8                 i.     Bard knew, but did not, communicate to physicians and patients
 9                        statistically significant findings of fatalities, the fact that Bard was
10                        redesigning and had determined that Recovery was not performing as
11                        Bard expected and intended it to perform. Id. at 260:14-261:4.
12                 j.     Bard knew, but did not, communicate to physicians and patients that
13                        the G2 filter had an undesirable risk profile based on Dr. Ciavarella’s
14                        February 2006 Health Hazard Evaluation and needed to be
15                        redesigned to address issues. Id. at 292:18-294:9.
16                 k.     Bard knew that the G2 needed to be redesigned to deal with
17                        migration, tilt, and penetration to deal with risks and complications
18                        identified in the February, 2006 HHE. Id. at 300:5-301:21.
19          116.   Clement Grassi, MD is a Bard expert who has been involved in developing
20    practice parameter guidelines for the Society of Interventional Radiology (SIR) and the
21    American College of Radiology (ACR). Dr. Grassi testified:
22                 a.     SIR and ACR consensus statement regarding informed consent for
23                        procedures that include IVCFs, and he agrees with the concept that
24                        informed consent would require taking into consideration what “a
25                        reasonable patient would want to know in the same or similar
26                        circumstances. Deposition of Clement Grassi, M.D, dated July 30,
27                        2014, attached as Exhibit 110, at 232:14-19.
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 1                  b.      The risks and expected benefits of the procedure and the alternatives
 2                          have to meet not only the perceptions of a physician, but what a
 3                          reasonable patient would want to know in the same or similar
 4                          circumstances. Id. at 238:2-239:2.
 5                  c.      Dr. Grassi agreed that manufacturers should not make decisions
 6                          about what reasonable patients should know or not know or what
 7                          reasonable physicians show know or not know regarding risk/benefit
 8                          decisions. Id. at 239:3-17.
 9                  d.      Findings that Bard filters experienced complications, including death,
10                          migration, perforation, and fracture that were higher than other filters
11                          on the market is information that a reasonable patient might want to
12                          know. Id. at 325:15-326:6.
13           117.   Natalie Wong, Bard Quality Engineering Manager, testified that the
14    Recovery filter had statistically significant higher rates of filter migration, IVC
15    perforation, and filter facture compared to competitor filters and its own filter. It should
16    have been important for physicians to have this information. Ex. 34, Wong Dep. at 17:9-
17    15, 84:21-87:25.
18           118.   Ms. Wong also testified that Bard did not have an internal system regarding
19    the number of filter fractures during a single month. Id. at 17:9-15, 138:15-22.
20           119.   According to Ms. Wong, physicians and patients were not informed of
21    Bard’s internal risk analysis that concluded G2 posed an unacceptable risk of caudal
22    migration. Id. at 151:19-155:14; 180:17-181:22.
23           120.   Ms. Wong confirmed that the G2 and G2X are the same filter design with
24    the exception of a snare hook removal that was added to the G2X. There were no changes
25    to the filter portion itself. Id. at 182:18-183:7.
26           121.   John McDermott, President of Bard Peripheral Vascular from 1999 to 2008,
27    testified that doctors would want to know information and data, including adverse events
28    of Bard’s devices compared to other devices from the perspective of safety and efficacy.

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 1    He also testified that doctors would want to know the information Bard had about other
 2    doctor’s experiences with filters. Mr. McDermott agreed that this data and information
 3    are important to doctor’s decision making. Ex. 2, McDermott Dep. at 142:18-144:1;
 4    152:16-154:4; 166:9-168:18; 288:13-289:7; 290:15-291:18.
 5           122.     Mr. McDermott testified that a multi-disciplinary panel of physicians in
 6    June 2004 advised him and other managerial members of Bard that “migration should not
 7    be different for retrievable filters than for permanent filters;” that a retrievable filter is
 8    expected to perform just as well as a permanent filter; and for “prophylactic filter
 9    placement, migration of the heart should virtually never happen.” Id. at 190:11-195:13;
10    196:12-197:16; G3 Vena Cava Filter Design Input Summary Report, BPVE-XX-XXXXXXX,
11    attached as Exhibit 111.
12           123.     Mr. McDermott agreed that medical device companies have an obligation to
13    provide all relevant information necessary to doctors to make product choices. He also
14    agreed that the company has an obligation to educate and inform doctors with information
15    about complications and trending of adverse events. Ex. 2, McDermott Dep. at 228:17-
16    229:8; 349:17-21.
17           124.     Bard possessed information that the Recovery and G2 filters had a
18    considerably higher rate of fractures than the SNF. Id. at 284:2-286:18; Ex. 92 at
19    BPVEFILTER-01-00037661.
20           125.     Mr. McDermott monitored the increasing rates of complications of
21    Recovery and G2 on a monthly basis and he acknowledged what he was seeing was
22    underreported and that the numbers of adverse events—including deaths, migrations and
23    fractures—kept going “up and up and up” month after month. Ex. 2, McDermott Dep. at
24    306:14-308:10.
25           126.     Bard’s regulatory and industry standard expert, Dr. Brauer agreed if a device
26    as cleared and designed does not meet its performance requirements or acceptance
27    criterion for caudal migration the company should stop selling it. Ex. 7, 2017 Brauer Dep.
28    at 386:10-19.

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 1           127.   Dr. Brauer also agreed “[i]t is important for medical device manufacture to
 2    understand healthcare professionals’ expectations for performance of a product.” Ex. 7,
 3    2017 Brauer Dep. at 334:4-14.
 4           128.   Bard’s retrospective analysis of fractures in its G2, G2X, and Eclipse filter
 5    groups shows that both the number of fractures and the cumulative fracture rate increased
 6    consistently over time. Filter Fracture Analysis, May 2016, attached as Exhibit 112,
 7    BPVEFILTER-01-00303182-89, at 82-86.
 8           G.     The Sir Quality Improvement Guidelines do not Establish a Safety
                    Standard.
 9
             129.   The SIR Quality Improvement Guidelines predate all of Bard’s optional
10
      filters, including among others the Recovery, G2 and G2X. Ex. 110, Grassi Dep. at
11
      69:23-70:10; Deposition of David Ciavarella, dated November 12, 2013, attached as
12
      Exhibit 113, at 220:16-221:15.
13
             130.   Bard’s former medical director from 2004-2008, David Ciavarella testified
14
      that the SIR Quality Improvement Guidelines did not create safety thresholds for the
15
      filters. Ex. 113, Ciavarella Dep. at 220:16-221:15.
16
             H.     Bard Kept its Sales Staff in the Dark About the Problems with its
17                  Retrievable IVC Filters.
18           131.   Robert Cortelezzi was a Bard regional sales manager from 2004 to 2008.
19    Deposition of Robert Cortelezzi, Nov. 11, 2016, attached as Exhibit 114, at 15:21-16:24.
20           132.   As a regional sales manager, Mr. Cortelezzi was not privy to each and every
21    event reported to or collected by Bard that concerned filter perforation, migration, tilt or
22    fracture. Id. at 276:2-272:2.
23           133.   Mr. Cortelezzi expected and relied that Bard would thoroughly, accurately
24    and completely test each and every product for any known or potential complication
25    before it was launched and went into the market launched. Id. at 289:15-290:4.
26           134.   Bard represented the G2 Filter as a filter that would remain centered and
27    less likely to tilt and migrate and was improved compared to other filters, including the
28    Recovery Filter. Id. at 306:1-307:7.

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 1           135.   Mr. Cortelezzi expected that Bard would thoroughly evaluate the safety of
 2    its products before launching them into the market and failure to do so would be contrary
 3    to his reasonable expectations as a regional manager. Id. at 308:13-23.
 4           136.   Mr. Cortelezzi never received a Health Hazard Evaluation or document that
 5    compiled all complications or adverse events. Id. at 320:22-324:5.
 6           137.   The Bard sales force was not armed with a Health Hazard Evaluation to
 7    provide doctors information when promoting Bard products. Id. at 323:15-324:5.
 8           138.   Mr. Cortelezzi was not aware of specific events in which “[s]erious injury or
 9    potential serious injury was seen in nine cases where fragments migrated to the heart or
10    lung.” Id. at 324:6-327:7; see also Health Hazard Evaluation, dated Nov. 17, 2004, BPV-
11    17-01-00103875, attached as Exhibit 115.
12           139.   Referring to an e-mail from Janet Hudnall to Shari Allen, dated January 19,
13    2005, reporting deaths in bariatric patients associated with Recovery Filter migration,
14    Mr. Cortelezzi did not receive the information and did not arm his sales force with the
15    information. Ex. 114, Cortelezzi Dep. 327:9-331:22.
16           140.   Daniel Orms was a Bard regional sales manager from 2008 to 2012. Ex. 96,
17    Orms Dep. at 14:8-23.
18           141.   Mr. Orms testified that information in Bard’s possession about Recovery
19    Filter events which caused injury or potential injury would have been helpful in
20    discussions with doctors. Id. at 173:14-174:24.
21           142.   Mr. Orms testified it would have been reasonable for him and his sales
22    people to be advised by Bard about tracking of events. However, the practice of
23    communicating Bard tracking events to sales did not occur. Ex. 96, Orms Dep. at 175:1-
24    10.
25           143.   Regional sales manager Jack Sullivan testified that he expected Bard to
26    share all information that was relevant to Filter safety with the sales force. Ex. 84,
27    Sullivan Dep. at 468:18-469:3.
28

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 1           144.    Mr. Sullivan expected Bard to communicate any information relevant to
 2    safety or the lack thereof so that he and his sales force could communicate the information
 3    to physicians. Id. at 469:4-15.
 4           145.    Tim Fischer was employed by Bard between 2000 to 2006. He was a
 5    territory manager then field sales manager. Deposition of Tim Fischer, Mar. 29, 2017,
 6    attached as Exhibit 116, at 7:16-24.
 7           146.    As a former sales representative, Timothy Fischer was never provided by
 8    Bard information regarding numbers of events concerning the Recovery Filter. Id. at
 9    281:13-283:1.
10           147.    Mr. Fischer testified that once Bard tracked event information, if Bard
11    thought it was important, he would have wanted to have it to present to physicians. Id. at
12    282:4-283:3.
13           148.    Bard did not provide tracked Filter events to Mr. Fischer. Id. at 283:3.
14           149.    Defense medical expert Mark Moritz testified in reviewing reports of
15    plaintiffs’ experts he saw references to Bard internal documents which spoke to serious
16    injuries and even death caused by failure modes of Bard filters. This is information a
17    medical doctor would want to know from a medical device company when making
18    decisions about which types of devices to use for patients. Deposition of Mark Moritz,
19    M.D., dated July 18, 2017, attached as Exhibit 117, at 85:12-86:3.
20    II.    FACTS RELATED TO HYDE V. BARD
21           150.    A Bard G2X IVC filter was implanted in Plaintiff, Lisa Ann Hyde on
22    February 25, 2011
23                      [Ex. H-A, Selected Plaintiff Medical Records at
24    HYDE_           _MDR00172; Ex. H-B, April 6, 2017 Deposition,
25    Deposition Transcript at 65:9-11.]
26           151.    Plaintiffs were           residents at the time Ms. Hyde had her filter
27    implanted. [Ex. H-D PFS at § I.5.]
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 1          152.                                                IVC filter implantation. [Ex.
 2    H-A, Selected Plaintiff Medical Records at HYDE_        _MDR00172.]
 3          153.                , M.D. was the                  and testified that he believes
 4    Ms. Hyde’s filter was a G2X IVC filter. [Ex. H-B,      Deposition at 11:22-24.]
 5          154.
 6                                                              . [Ex. H-A,
 7    HYDEL_           _RAD00009-10.]
 8          155.
 9
10                               . [Ex. H-A, HYDEL_          _RAD00009-10;
11    HYDEL_SHC_MDR00019 to 20.]
12          156.
13            [Ex. H-C, Lisa Hyde Deposition Transcript at 18:9-22; Ex. H-D, PFS at I.5.]
14          157.
15
16                                                                            . [Ex. H-A,
17    HYDEL_           _RAD00008.]
18          158.
19
20
21           [Ex. H-A, HYDEL_               _MDR00075-76.]
22          159.
23           . [Ex. H-A, HYDEL           _MDR0002-04.]
24          160.
25
26                                                                                 . [Ex. H-
27    A, HYDEL_          _MDR0002-04.]
28

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 1          161.                                                        G2X filter
 2                                                 . [Ex. H-D PFS at § II.10(a)-(c).]
 3          162.                                                             Bard G2X in his
 4    records. [Ex. H-E, Deposition of                         at 23:12-15, 48:21-24.]
 5          163.                                                                        a Bard
 6    G2X filter. [Ex. H-A, HYDEL_         _MDR00055.]
 7          164.
 8
 9                                               . [Ex. H-B,         Dep. Tr. at 46:1-25.]
10          165.
11
12           [Ex. H-B,         Dep. Tr. at 56:17-18.]
13          166.   There is no design difference between the G2 and G2X filters. [Ex. H-F,
14    McMeeking Dep. Tr. at 37:9-39:8.]
15          167.   Bard failed to design the G2 and G2X filters in a way that reduces the risks
16    of tilting, perforation, migration and fracture by fatigue. [Ex. H-F, McMeeking Dep. Tr. at
17    23:14-23.]
18          168.   Bard could have redesigned the filter configuration to find a better
19    combination of phenomena that improved the behavior of the filter in terms of the risks
20    involved. They could have developed caudal anchors and penetration limiters sooner than
21    they ultimately did. [Ex. H-F, McMeeking Dep. Tr. at 32:14-33:8.]
22          169.   Anchors and limiters are a reasonable concept for how the tilt and migration
23    behavior of a filter can be limited. [Ex. H-F, McMeeking Dep. Tr. at 129:24-130:1.]
24          170.   Bard should have considered other a different design of the G2/G2X that
25    included using a tubing material, arms with different diameters and dimensions, or a
26    different number of arms. [Ex. H-F, McMeeking Dep. Tr. at 30:23-31:5; 34:13-23.]
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 1           171.     Bard did inadequate testing in assessing the performance of the design and
 2    consequences of the design of the G2 and G2X filters. [Ex. H-F, McMeeking Dep. Tr. at
 3    308:1-9.]
 4           172.     It is the design of the G2 and G2X filters itself that causes the dangerous
 5    failures. [Ex. H-F, McMeeking Dep. Tr. at 23:12-15.]
 6           173.     Bard’s Director of Quality Assurance, Chris Ganser, said that there were
 7    design issues with the G2 filter that needed to be addressed. [Ex. H-G, October 11, 2016
 8    Deposition of Chris Ganser at 301:16-21.]
 9           174.     The G2 and G2X subsequently tilted after placement. [Ex. H-H, April 17,
10    2013 Deposition of Robert Carr at 94:11-19.]
11           175.     Bard tried to ultimately decide to include an anchor system so that the
12    known causes for tilt would be reduced. [Ex. H-H, Carr Dep. Tr. at 95:22-96:6.]
13           176.     SNF is more migration resistant due to the combination of the stiffness of its
14    pedals and the stiffness of its legs as compared to the other Bard filters. [Ex. H-F,
15    McMeeking Dep. Tr. at: 203:9-22.]
16           177.     The SNF is a safer and better filter than the other Bard filters. [Ex. H-F,
17    McMeeking Dep. Tr. at 321:11-15; 221:20-24.]
18           178.     The G2 device was intended for permanent placement. [Ex. H-I, Patient
19    Brochure for the G2 Filter System, BPV-17-01-00142912.]
20           179.     All of the G2 era filters are truly permanent filters. [Ex. H-H, Carr Dep. Tr.
21    at 32:18-23.]
22           180.                testified that he understood                                          .
23    [Ex. H-B,          Dep. Tr. at 72:23-73:1.]
24           181.                testified that he trusts the FDA more than medical device
25    companies and that he is comfortable using any filter that is FDA approved. [Ex. H-B,
26           Dep. Tr. At 45:23-24 and 25:13-25.]
27
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 1           182.              also testified that in 2011, it was his understanding that all FDA-
 2    cleared IVC filters had the same performance and comparable risks of complications, such
 3    as migrations and fractures. [Ex. H-B,         Dep. Tr. At 27:25-28:10.]
 4           183.              testified that he has read the Bard G2X instructions for use
 5    document. [Ex. H-B,          Dep. Tr. At 86:3-7.]
 6           184.                                                                                    .
 7    [Ex. H-D, PFS at § II.15.]
 8           185.   Bard’s own expert, Dr. Donna Tillman, states that when you design a device
 9    and you have a risk, the best thing to do to mitigate that risk is to design around it. You
10    have to design the device so that the risk goes away. If you can’t do that, Tillman says that
11    you must implement some kind of way to protect the user against the risk. And finally, if
12    you can’t accomplish that either, you must “label around it” and tell patients there is a risk
13    here. Tillman feels that these are “standard design considerations.” [Ex. H-J, Tillman Dep.
14    Tr. at 193:6-194:20].
15           186.   Kay Fuller, a Bard Regulatory Affairs Specialist handling the Recovery
16    510(k) application, testified that a Truthfulness and Accuracy Statement must be signed
17    when she would submit a 510(k) application to the FDA. This document says that to the
18    best of the signatory’s knowledge, the information in the 510(k) is truthful, accurate, and
19    does not contain any material information omitted. [Ex. H-K, Kay Fuller Dep. Tr. 46:8-
20    22].
21           187.   Ms. Fuller did not sign the Truthfulness and Accuracy statement because
22    she was concerned that Bard would not be able to address the FDA’s questions and she
23    did not believe that the company understood the failure modes, specifically fatigue
24    resistance, to the level that they were representing to the FDA. [Ex. H-K, Kay Fuller Dep.
25    Tr. 125:6-25].
26           188.   Additionally, Ms. Fuller did not sign because she did not feel like Bard had
27    adequately addressed the fracture failure mode and had not put in adequate corrective
28    actions. [Ex. H-K, Kay Fuller Dep. Tr. 129:22-130:11].

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 1            189.    This was the first time in Ms. Fuller’s career that she was not comfortable
 2    singing the Truthfulness and Accuracy statement in an application to the FDA. [Ex. H-K,
 3    Kay Fuller Dep. Tr. 131:24-132:8].
 4            190.    Since Ms. Fuller would not sign the Truthfulness and Accuracy statement,
 5    Carol Vierling, without permission, signed Ms. Fuller’s name for her. [Ex. H-K, Kay
 6    Fuller Dep. Tr. 276:7-277:11].
 7    III.    FACTS RELATED TO MULKEY V. BARD
 8            191.                                   Ms. Mulkey                         IVC filter.
 9    (Ex. M-D, Mulkey Dep. Tr. at 77:20-23; Ex. M-C,                   Dep. Tr. at 71:12-18).
10            192.                              an IVC filter                   placement in Ms.
11    Mulkey                              . (Ex. M-B, Hurst Report at p. 4 ¶3(a)).
12            193.    Ms. Mulkey was implanted with a Bard Eclipse IVC filter
13           . (Ex. M-B, Hurst Report at p. 4 ¶3(a)).
14            194.
15                                                   (Ex. M-D, Mulkey Dep. Tr. at 88:5-16).
16            195.                           Eclipse filter in Ms. Mulkey. (Ex. M-C,
17    Dep. Tr. at 88:23-25).
18            196.    The Bard Eclipse filter was implanted                Ms. Mulkey by      .
19                   (Ex. M-B, Hurst Report at p. 5, ¶3(b)).
20            197.                                        Eclipse Filter in Ms. Mulkey,
21                had seen the IFU for the Bard Eclipse filter, and it is his practice to review the
22    IFU for new devices prior to implanting them in patients. (Ex. M-C,                   Depo at
23    105:11-23).
24            198.                   is familiar with the instructions for use for vena cava filters.
25    (Ex. M-C,               Dep. Tr. at 102:16-23).
26            199.    Bard sales representatives attended the placement of filters
27                                            provide him information if he had questions. (Ex. M-
28    C,              Dep. Tr. at 210:1-13; 105:15-18).

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 1           200.                      does not remember ever being told by any Bard sales
 2    representative that IVC filters                                            . (Ex. M-C,
 3                  Dep. Tr. at 55:14-17).
 4           201.                      told Ms. Mulkey that her Eclipse filter
 5                                                                         (Ex. M-D, Mulkey Dep. Tr.
 6    at 79:3-7).
 7           202.                                      Ms. Mulkey’s Eclipse filter
 8                                  (Ex. M-D, Mulkey Dep. Tr. at 85:20-23).
 9           203.      It was Dr.
10                                                            . (Ex. M-C,              Dep. Tr. at
11    86:24 – 87:2).
12           204.      Ms. Mulkey had the opportunity to ask                     questions about the
13    filter. (Ex. M-D, Mulkey Dep. Tr. at 81:19-21).
14           205.      Dr.             testified that he did not consent
15
16                                                                  (Ex. M-C,             Dep. Tr. at
17    80:22 – 86:2; 94:21 – 95:25).
18           206.
19                                             Eclipse IVC filter. (Ex. M-D, Mulkey Dep. Tr. at
20    182:4-8).
21           207.                      agreed Ms. Mulkey
22                            Eclipse filter                                           . (Ex. M-C,
23             s Dep. Tr. at 85:9-16).
24           208.      Ms. Mulkey                                                     Eclipse filter
25                                                     . (Ex. M-D, Mulkey Dep. Tr. at 182:9-13).
26           209.      Ms. Mulkey                                             Eclipse filter
27                     (Ex. M-D, Mulkey Dep. Tr. at 182:14-16; Ex. M-C,                   Dep. Tr. at
28    83:20 to 84:4).

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 1             210.     Ms. Mulkey                                   Eclipse filter. (Ex. M-D,
 2    Mulkey Dep. Tr. at 182:18-20).
 3             211.     Ms. Mulkey
 4                    . (Ex. M-D, Mulkey Dep. Tr. at 182:21-24).
 5             212.     Ms. Mulkey
 6    (Ex. M-D, Mulkey Dep. Tr. at 182:25 to 183:3).
 7             213.     Ms. Mulkey                                                       Eclipse filter
 8               . (Ex. M-D, Mulkey Dep. Tr. at 183:4-7).
 9             214.     Ms. Mulkey                        Eclipse filter              (Ex. M-D,
10    Mulkey Dep. Tr. at 183:8-10).
11             215.                                 Ms. Mulkey                           Eclipse IVC
12    filter                                                                   . (Ex. M-C,
13    Dep. Tr. at 82:3-8; 84:5-10).
14             216.                                 Ms. Mulkey that her Eclipse IVC filter
15                                                                                             . (Ex.
16    M-C,               s Dep. Tr. at 84:11-15).
17             217.                                 Ms. Mulkey                               Eclipse
18    filter                                                       (Ex. M-C,            Dep. Tr. at
19    84:17-23).
20             218.                                 Ms. Mulkey                               Eclipse
21                                                  (Ex. M-C,               Dep. Tr. at 84:24 to
22    85:3).
23             219.                                 Ms. Mulkey
24        Eclipse filter                                     . (Ex. M-C,               Dep. Tr. at
25    82:9-25).
26             220.                                  Ms. Mulkey
27             Eclipse filter. (Ex. M-C,            Dep. Tr. at 83: 3-5).
28

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 1           221.                                     Ms. Mulkey
 2    Eclipse IVC filter                                                (Ex. M-C,             Dep.
 3    Tr. at 83:6-19).
 4           222.    If the IFU included pertinent warnings, that is something
 5    would pass on to his patients. (Ex. M-C,                 Dep. Tr. at 106:7-10).
 6           223.    The Eclipse IFU did not inform                     of an increased risk of
 7    movement, migration or tilt with Bard filters versus competitor filters. (Ex. M-C,
 8                Dep. Tr. at 107:17-21).
 9           224.    The Eclipse IFU did not inform                     of an increased risk of
10    movement, migration or tilt with Bard optional filters versus Bard permanent filters. (Ex.
11    M-C,               Dep. Tr. at 107:22 to 108:2).
12           225.    The Eclipse IFU did not inform                     that the Eclipse had a higher
13    risk of movement, migration or tilt than any other filter. (Ex. M-C,                Dep. Tr. at
14    108:3-9).
15           226.    If the Eclipse had an increased risk of migration over other filters, that is
16    something that                  would have wanted to know. (Ex. M-C,                   Dep. Tr.
17    at 108:10-15).
18           227.    If the Eclipse had an increased risk of migration over other filters, that is
19    something                   would have wanted to know and something he would have taken
20    into account in his risk benefit analysis on whether to use the filter. (Ex. M-C,
21    Dep. Tr. at 108:10-19).
22           228.    If the Eclipse had an increased risk of migration over other filters, that
23    would affect                   prescribing habits and, if it was a significant difference, he
24    wouldn’t use the filter. (Ex. M-C,                 Dep. Tr. at 108:20 to 109:1).
25           229.                   expected Bard to notify him immediately if it was aware of
26    problems with the design of one of its filters that was causing complications and problems
27    for patients, or if it was in the process of redesigning its filter to reduce complications.
28    (Ex. M-C,              Dep. Tr. at 125:2-14).                   wanted to know this

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 1    information because it would help him decide whether he even wanted to use the filter.
 2    (Ex. M-C,               Dep. Tr. at 125:2-18).
 3           230.    There were risks and problems with Bard’s filters that Bard did not tell
 4                about. (Ex. M-C,               Dep. Tr. at 216:3-8).
 5           231.                    also would have expected Bard to inform him of problems
 6    with filters such as the Eclipse, and to provide him with accurate and thorough
 7    information as it became aware of problems with its filters. (Ex. M-C,                     Dep. Tr.
 8    at 57:6-11; 157:22-25).
 9           232.                    wanted to use the safest available IVC filter that would
10    accomplish the goal of stopping pulmonary embolisms. (Ex. M-C,                       s Dep. Tr. at
11    109:2-6).
12           233.                    testified, “I wouldn’t use the filter if I was aware that deaths
13    were occurring concurrently with me placing these filters.” (Ex. M-C,                      Dep. Tr.
14    at 53:7-23).
15           234.
16                                 (Ex. M-C,                s Dep. Tr. at 97:25 – 98:3).
17           235.
18                                                                            (Ex. M-C,
19    Dep. Tr. at 98:17-25).
20           236.
21                (Ex. M-C,             Dep. Tr. at 99:1-5).
22           237.
23                                           . (Ex. M-C,                 Dep. Tr. at 101:3-8).
24           238.
25                                    (Ex. M-C,                 Dep. Tr. at 101:9-13).
26           239.
27                                                                        (Ex. M-C,              Dep. Tr.
28    at 101:14-18).

                                                       42
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 1             240.   Ms. Mulkey                               or her Bard Vena Cava Filter System.
 2    (Ex. M-A, Detailed Bill for Debra Mulkey).
 3             241.                     ultimately sent Ms. Mulkey                                   .
 4    (Ex. M-C,                  Dep. Tr. at 112:1-3).
 5             242.                          , Ms. Mulkey
 6                                                  (Ex. M-D, Mulkey Dep. Tr. at 93:1-25).
 7             243.   Ms. Mulkey                                                . (Ex. M-D, Mulkey
 8    Dep. Tr. at 94:20-24).
 9             244.                                            Ms. Mulkey
10                                                                                          . (Ex.
11    M-I,            Dep. Tr. at 83:13-17).
12             245.   According to                   medical records, Ms. Mulkey’s Eclipse IVC
13    filter
14                                                                            (Ex. M-H, Muehrcke
15    Report at p. 7).
16             246.   Ms. Mulkey did
17                                                                      . (Ex. D, Mulkey Dep. Tr. at
18    142:8-17 and 143: 14-22; Ex. M-E, Plaintiff Fact Sheet of Plaintiff Debra Mulkey
19    (hereinafter “PFS”), at Section II.13(b) on page 14).
20             247.   Ms. Mulkey                                                            . (Ex. M-
21    D, Mulkey Dep. Tr. at 98:4-6).
22             248.
23                    filter. (Ex. M-D, Mulkey Dep. Tr. at 180:11-13).
24             249.
25                               . (Ex. M-D, Mulkey Dep. Tr. at 113:12-20).
26             250.   In fact,                            Ms. Mulkey that IVC filters
27                                             . (Ex. M-D, Mulkey Dep. Tr. at 137:14-25).
28

                                                         43
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 1          251.                  did not ever tell Ms. Mulkey that her IVC filter was defective.
 2    (Ex. M-C,            Dep. Tr. at 115:19-21).
 3          252.                  did not ever tell Ms. Mulkey that the manufacturer of the IVC
 4    filter had injured her or caused her harm. (Ex. M-C,           Dep. Tr. at 115:22-25).
 5          253.                  did not ever tell Ms. Mulkey that her IVC filter was unsafe.
 6    (Ex. M-C,            Dep. Tr. at 116:1-3).
 7          254.                                                              Ms. Mulkey did
 8    not believe she had been injured. (Ex. M-D, Mulkey Dep. Tr. at 179:21 – 180:1).
 9          255.                                                              Ms. Mulkey did
10    not believe there was anything defective about her filter. (Ex. M-D, Mulkey Dep. Tr. at
11    180:2-5).
12          256.                                                              Ms. Mulkey did
13    not believe she had been wronged by the manufacturer of the IVC filter, Bard. (Ex. M-D,
14    Mulkey Dep. Tr. at 180:5-10).
15          257.                                   Ms. Mulkey
16                                       Bard IVC filter. (Ex. M-D, Mulkey Dep. Tr. at
17    147:23-148:4).
18          258.             Ms. Mulkey
19
20
21                                    IVC filters. (Ex. M-D, Mulkey Dep. Tr. at 185:3-14).
22          259.   In the fall of 2015, Ms. Mulkey saw an ad on TV about IVC filters. (Ex.
23    M-D, Mulkey Dep. Tr. at 57:23 to 58:2).
24          260.   When Ms. Mulkey saw the Internet and television ads in October 2015, this
25    caused her to be concerned about her filter. (Ex. M-D, Mulkey Dep. Tr. at 138:14-20).
26          261.   It was in late 2015 when Ms. Mulkey first realized that she may have been
27    wronged by Bard and may have a lawsuit. (Ex. M-D, Mulkey Dep. Tr. at 180:21 –
28    181:2).

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 1           262.     When Ms. Mulkey saw the ad on TV in October 2015, that’s when she
 2    realized that not being able to remove her IVC filter was the result of a defect in the IVC
 3    filter. (Ex. M-D, Mulkey Dep. Tr. at 144:19-145:3).
 4           263.     Due to the inadequate design of Ms. Mulkey’s Bard Eclipse IVC filter,
 5
 6                                                                                  (Ex. M-H,
 7    Muehrcke Report at p. 7; Ex. M-B, Hurst Report at pp. 5-7, 12).
 8    IV.    FACTS RELATED TO JONES V. BARD
 9           A.       Implantation Facts
10           264.                            , Doris Jones
11
12                                                              Jones Medical Records, attached as
13    Exhibit J-A, at DORISJONES000004.
14           265.
15                                                                     Id. at DORISJONES000021.
16           266.
17                                                . Id. at DORISJONES000002.
18           267.
19                                                     Id. at DORISJONES000026.
20           268.
21
22                               . Id.
23           269.
24                                                                                      . Transcript of
25    Deposition of                          (“              .), attached as Exhibit J-B, at 50:15-51:16.
26           270.                                                                               . Jones
27    Consent Form Dated                          , attached as Exhibit J-C, at
28    JONESD                             ;          Dep, Exhibit J-B, at 55:14.

                                                        45
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 1             271.             implanted a Bard Eclipse IVC filter in Doris
 2    Exhibit J- A at DORISJONES000026 - 000027;                Dep, Exhibit J-B, at 59:2-11.
 3             272.   Doris Jones                                                    Eclipse IVC
 4    filter                     . Bard Peripheral Vascular’s Supplemental Responses to
 5    Plaintiffs Doris and Alfred Jones’s First Set of Requests for Admissions to Bard
 6    Peripheral Vascular, Inc., attached as Exhibit 116 hereto, at 8, supplemental response to
 7    RFA 13.
 8             273.   The Eclipse is a “retrievable” IVC filter, meaning that while the Eclipse can
 9    be removed if clinically necessary or appropriate; Bard promotes the filter as safe for
10    permanent implantation. Eclipse Vena Cava Filter, Femoral Vein Approach, Instructions
11    for Use (“Eclipse IFU”), attached as Exhibit 117, at BPV-17-01-00142881; see also
12    Exhibit D at 5, supplemental response to RFA 7.
13             274.
14                                                                     .        Dep, Exhibit J-B,
15    at 54:3-13.
16             275.   At the time, Bard’s SNF was available on the market for implantation as a
17    permanent IVC filter.
18             B.                                             Was Familiar with Bard’s IVC Filter
                      W                                      ones’s Eclipse IVC Filter.
19
               276.             did not recall reading the Eclipse IFU, but he had read IFUs for
20
      IVC filters:
21
                       Q. And do you read the IFU?
22                     A. Sometimes. I mean, I have read them. I don't -- certainly don't
               read them on every package, because they're the same from the same device,
23             but -- you know, not -- not all the time, but it does come up, for example, at
               meetings, or you're reading about and someone's discussing an issue with an
24             IFU. You know, if something is within the IFU or not, to help define things
               that might be outside of the IFU but still medically indicated.
25                     Q. Do you know if you ever read the IFU for the Eclipse IVC filter?
                       A. Not that I recall.
26                     Q. Okay. And IFUs have warnings on them of side effects,
               complications, things like that, also?
27                     A. Yes.
28

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 1           Q. And even if you haven't read the Eclipse IFU, you're probably generally
             familiar with IVC filter IFUs, if they warn of things like fractures,
 2           migration, perforation, tilt; complications like that. Right?
                    A. Yes. Yes.
 3
             Dep, Exhibit J-B, at 47:11-48:7.
 4
             277.             and his practice have “predominantly” used the Bard IVC filters.
 5
      Id. at 33:21-34:6.
 6
             278.   Significantly, the Eclipse IFU warnings are the same as those in the G2 and
 7
      G2X. As between the Eclipse IFU and the G2X IFU, with two exceptions,1 the only
 8
      difference between the two documents is the use of the terms “Eclipse” in one and “G2X”
 9
      in the other. See Exhibit J-E; G2X Vena Cava Filter, Femoral Vein Approach,
10
      Instructions for Use (“G2X IFU”), attached as Exhibit J-G.
11
             279.   Under the heading “Warnings,” both the G2X IFU and Eclipse IFU state:
12
                     11. Filter fractures are a known complication of vena cava filters.
13           There have been some reports of serious pulmonary and cardiac
             complications with vena cava filters requiring the retrieval of the fragment
14           utilizing endovascular and/or surgical techniques.
                     12. Movement, migration or tilt of the filter are known complications
15           of vena cava filters. Migration of filters to the heart or lungs has been
             reported. There have also been reports of caudal migration of the filter.
16           Migration may be caused by placement in IVCs with diameters exceeding
             the appropriate labeled dimensions specified in this IFU. Migration may
17           also be caused by improper deployment, deployment into clots and/or
             dislodgement due to large clot burdens.
18           …
             See Potential Complications section for further information regarding other
19           known filter complications.
20    Exhibit J-E at BPV-17-01-00142881; Exhibit J-G at BPV-17-01-00137404.

21           280.   The G2 IFU states under “Warnings”:

22                   8. Filter fractures are a known complication of vena cava filters.
             There have been some reports of serious pulmonary and cardiac
23           complications with vena cava filters requiring the retrieval of the fragment
             utilizing endovascular and/or surgical techniques.
24                   9. Movement, migration or tilt of the filter are known complications
             of vena cava filters. Migration of filters to the heart or lungs has been
25
      1
26     The two other differences are: (1) the G2X IFU names one section as “MRI Safety”
      whereas the Eclipse IFU names the section “MRI Information”; and (2) In the section
27    “Directions for Use,” the two IFUs use different terminology in step 14 (which is utterly
28    unrelated to warnings and complications). See Exhibit J-G at BPV-17-01-00137403,
      00137406; Exhibit J-E at BPV-17-01-00142880, 00142883.
                                                  47
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 1               reported. There have also been reports of caudal migration of the filter.
                 Migration may be caused by placement in IVCs with diameters exceeding
 2               the appropriate labeled dimensions specified in this IFU. Migration may
                 also be caused by improper deployment, deployment into clots and/or
 3               dislodgement due to large clot burdens.
                 …
 4               See Potential Complications section for further information regarding other
                 known filter complications.
 5
      G2 Filter System, Femoral Vein Approach, Instructions for Use, (“G2 IFU”), attached as
 6
      Exhibit J-H, at BPV-17-01-00118398.
 7
                 281.   Under the heading “Potential Complications,” the G2 IFU, G2X IFU, and
 8
      Eclipse IFU all state:
 9
                         Movement, migration or tilt of the filter are known complications of
10               vena cava filters. Migration of filters to the heart or lungs has been
11               reported. There have also been reports of caudal migration of the filter.
                 Migration may be caused by placement in IVCs with diameters exceeding
12               the appropriate labeled dimensions specified in this IFU. Migration may
13               also be caused by improper deployment, deployment into clots and/or
                 dislodgement due to large clot burdens.
14                       Filter fractures are a known complication of vena cava filters. There
                 have been some reports of serious pulmonary and cardiac complications
15
                 with vena cava filters requiring the retrieval of the fragment utilizing
16               endovascular and/or surgical techniques.
                 …
17               All of the above complications may be associated with serious adverse
                 events such as medical intervention and/or death. There have been reports
18               of complications, including death, associated with the use of vena cava
                 filters in morbidly obese patients. The risk/benefit ratio of any of these
19               complications should be weighed against the inherent risk/benefit ratio for a
                 patient who is at risk of pulmonary embolism without intervention.
20
      Exhibit J-E at BPV-17-01-00142882; Exhibit J-G at BPV-17-01-00137405; Exhibit J-H at
21
      BPV-17-01-00118399.
22
                 282.   Under the heading “Clinical Experience,” the G2 IFU, G2X IFU, and
23
      Eclipse IFU all reference and contain identical information regarding a clinical study
24
      involving 100 patients to assess the safety of removal of the G2 Filter. Exhibit J-H at
25
      BPV-17-01-00118400; Exhibit J-G at BPV-17-01-00137406 - 00137407; Exhibit J-E at
26
      BPV-17-01-00142883.
27
                 283.              was aware that fracture was a possible complication of IVC
28
      filters.          Dep, Exhibit J-B, at 48:2-7.
                                                       48
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 1           284.               knew the G2 had problems with migrations and fractures. Id. at
 2    40:18-21.
 3           C.               Was Not Aware of Adverse Information Regarding the Rates and
                    F          of Complications of Bard’s IVC Filters That Bard Did Not
 4                  Report to Him.
 5           285.               was not aware of specific rates of fracture for IVC filters for Bard
 6    or other manufacturers. Id. at 62:24-64:7.
 7           286.                   understanding at the time was that the rates were very low but
 8    then within the last four years or so                                            ) learned that
 9    they were higher. Id. at 64:8-17.
10           D.                 Would Have Wanted to Know if Bard’s IVC Filter Fracture Rates
                    a           Complication Rates Were Greater Than Those of Its Competitors.
11
             287.
12
                                                                                           Id. at
13
      48:20-49:4.
14
             288.   Since then,               has learned more about IVC filters and their
15
      complications. Id. at 49:5-9.
16
             289.               would have wanted to know before he implanted the Eclipse IVC
17
      in Doris Jones what Bard knew about complications with its IVC filters. Id. at 49:10-14.
18
             290.               testified that he would have wanted to know if the fracture rates
19
      for the Recovery, a predicate device for the Eclipse, exceeded the fracture rates of IVC
20
      filters from other manufacturers. Id. at 81:13-24.
21
             291.               admitted that “[a]ll of the fracture information rate [for Bard’s
22
      IVC filters] is something that was important to consider in the decision [to use Bard IVC
23
      filters].” Id. at 89:20-22.
24
             292.               testified that it would have been important to him to know that
25
      the Recovery filter had reporting rates for death, filter migration, IVC perforation, and
26
      filter that were substantially higher than all other filters. Id. at 82:14-24.
27
28

                                                     49
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 1           293.              believed that comparative information as between filters was
 2    important: “all information is helpful, if there’s -- if it is information regarding concern
 3    about one filter being better than the other.” Id. at 90:19-22.
 4           294.              also testified he would expect a medical device company to
 5    report to doctors when the company learns that its device is less safe than alternative
 6    treatments or other alternative products. Id. at 21:2-9.
 7           295.              testified he would need to know that information to make
 8    informed decisions about using products. Id. at 21:10-13.
 9           296.              testified that patients cannot make informed-consent decisions if
10    the doctors do not receive the information to inform them. Id. at 21:14-18.
11           E.
12
             297.                                                                           .
13
      Exhibit J-A at DORISJONES000104 – 000105.
14
             298.
15
                                                                         . Id. at
16
      DORISJONES000073.
17
             299.
18
19
              Transcript of deposition of                 ,              , attached as Exhibit J-I, at
20
      44:12-23 (                                                                                     );
21
      47:2-15.
22
             300.
23
                                                                                                .
24
      Exhibit J-A at DORISJONES000096.
25
             301.
26
                                        . Id. at DORISJONES000096.
27
28

                                                    50
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 1           302.
 2                                                         . Transcript of deposition of
 3           , attached as Exhibit J-J, at 25:7-24.
 4           303.
 5                                                                                           . Id. at
 6    46:13-47:21.
 7           304.
 8                                                                       Exhibit J-A at
 9    DORISJONES000073.
10           305.
11                                                                . Id. at DORISJONES000104 –
12    000105.1
13           306.
14         . Id. at DORISJONES000073.
15           307.    Plaintiffs’ experts have subsequently determined that Doris’s Filter
16                                                          . Transcript of deposition of Dr. Darren
17    Hurst, Aug. 19, 2016, at 55:7-10 (                                           G2 devices);
18    excerpts of Report of Robert McMeeking, PhD on Bard Inferior Vena Cava Implanted in
19    Mrs. Doris Jones, June 9, 2017, attached as Ex. J-K, at 2; excerpts of Expert Report of
20    Darren R. Hurst, M.D., dated June 2, 2017, attached as Ex. J-L, at 10; excerpts of Report
21    of Robert Muehrcke, M.D., dated June 6, 3017, attached as Ex. J-M, at 1.
22           308.    In December 2005, internal Bard reports determined that the “reported rate
23    of fractures [was] judged to be serious (Critical R002 rating).” Email from G. Schultz to
24    K. Shifrin and J. Hudnall dated Dec. 19, 2005, BPVEFILTER-01-00002447, attached as
25    Ex. J-N.
26           309.    Plaintiffs’ physician experts have testified that information regarding
27    complication rates and comparative complication rates is important to treating physicians
28    to determine the risk/benefit of using the device and in order to obtain appropriate

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 1    informed consent from patients. Transcript of deposition of Dr. Kinney, July 17, 2017,
 2    attached as Ex. J-O, at 39:18-40:20, 101:21-102:18, 191:4-13, 193:8-25, 196:1-10, 204:7-
 3    205:3, 231:25-232:23; transcript of deposition of Dr. Roberts, July 7, 2017, attached as
 4    Ex. J-P, at 210:22-214:15, 237:15-238:14, 240:1-25. 294:9-295:9, 296:6-19.
 5           310.   Bard’s expert, Dr. Mark Moritz, agreed that a medical doctor would want to
 6    know from a medical device company the type of information contained in Bard’s internal
 7    documents that spoke to serious injuries and death caused by failure modes of the Bard
 8    filters. Transcript of deposition of Mark Moritz, M.D., July 18, 2017, attached as Ex. J-Q,
 9    at 85:12-86:3.
10    V.     ADDITIONAL FACTS
11           311.   Bard’s labeling and marketing materials represent that the G2 Filter was
12    safe and effective for permanent implantation in the human body for the prevention of
13    pulmonary embolism. Ex. 63, BPV-17-01-00137389; G2 IFU, attached as Exhibit 118,
14    BPV-17-01-00118398; G2 IFU, attached as Exhibit 119, BPV-17-01-00137437.
15           312.   Bard represented to the FDA that the “Design, material, components,
16    fundamental technology and intended use” of the G2 were substantially equivalent to the
17    predicate device, the Recovery Filter. Letter from FDA to Bard re marketing of G2 Filter,
18    attached as Exhibit 120, K050558.
19           313.   Bard further represented that no material changes or additional components
20    had been incorporated in the G2 Filter from the Recovery Filter and that modifications
21    were just dimensional changes. Ex. 120, K050558.
22           314.   Bard’s internal documents reveal (after the G2 was FDA-cleared) that while
23    pertinent safety data was not revealed to FDA regarding migration resistance, BARD
24    continued to discuss its competitive activity including that the Recovery Filter was still
25    being placed in patients and the most probable Medicare codes that return payment for
26    placement of the BARD devices were exchanged. Email from J. Greer to J. Hudnall dated
27    7/22/2005, BPVE-01-001797300, attached as Exhibit 121.
28

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 1           RESPECTFULLY SUBMITTED this 13th day of October, 2017.
 2
                                                 GALLAGHER & KENNEDY, P.A.
 3
                                                 By: /s/ Mark S. O’Connor
 4                                                   Mark S. O’Connor
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                                                 LOPEZ McHUGH LLP
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                                                 Co-Lead/Liaison Counsel for Plaintiffs
10
11
                                   CERTIFICATE OF SERVICE
12
             I hereby certify that on this 13th day of October, 2017, I electronically transmitted
13
      the attached document to the Clerk’s Office using the CM/ECF System for filing and
14
      transmittal of a Notice of Electronic Filing.
15
16                                                         /s/ Gay Mennuti
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 Exhibit H-B - REDACTED
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Do Not Disclose - Subject to Further Confidentiality Review

  1             UNITED STATES DISTRICT COURT
  2                 DISTRICT OF ARIZONA
  3    *   *   * * * * * * * * * * *                       *   *
  4
       In Re Bard IVC Filters Products
  5    Liability Litigation
  6                       No. MD-15-02641-PHX-DGC
  7
  8
       *   *   *   *   *   *   *   *   *   *   *   *   *   *   *
  9
 10         DO NOT DISCLOSE - SUBJECT TO FURTHER
                   CONFIDENTIALITY REVIEW
 11
        VIDEOTAPED DEPOSITION OF
 12
                TAKEN AT: Leib Knott Gaynor
 13        LOCATED AT: 219 North Milwaukee Street
                       Milwaukee, WI
 14
                        April 6, 2017
 15                10:07 a.m. to 12:28 p.m.
 16               REPORTED BY ANITA K. FOSS
               REGISTERED PROFESSIONAL REPORTER
 17
 18
 19
       *   *   *   *   *   *   *   *   *   *   *   *   *   *   *
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  1    interventional radiology procedures during that 13
  2    to 14 years in Ohio?
  3           A.    Yes.
  4           Q.    About what percentage or practice, while
  5    you were in Ohio for those 14 years, was
  6    interventional radiology as opposed to general
  7    radiology?
  8           A.    Maybe 25 percent, 30 percent.
  9           Q.    Did that include implanting IVC filters?
 10           A.    Yes.
 11           Q.    Now, do you recall a patient of yours, my
 12    client, Lisa Hyde?
 13           A.    I do not.
 14           Q.    Have you had an opportunity to review any
 15    medical records to refresh your recollection about
 16    that patient?
 17           A.    I was here yesterday and I had -- I
 18    reviewed a one -- my -- I think my -- my report of
 19    the procedure.
 20           Q.    That procedure was what?
 21           A.    Placement of an IVC filter.
 22           Q.    Was it a G2X IVC filter?
 23           A.    I believe it may have been, but I'm not
 24    sure.
 25           Q.    Was that procedure -- or did that

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  1           Q.    And then you also apply your knowledge as
  2    to what possible procedures or devices are
  3    available to treat that condition; right?
  4           A.    Yes.
  5                 MS. DALY:      Objection.      Objection,
  6    leading.
  7    BY MR. SAELTZER:
  8           Q.    And Doctor, in coming and exercising your
  9    clinical discretion, do you perform a risk-benefit
 10    analysis?
 11           A.    I get an informed consent, which includes
 12    risks, benefits, and alternatives.
 13           Q.    When you are choosing which IVC filter to
 14    implant in a patient, can you describe for me what
 15    thought process you go to as to which filter you
 16    select from the various options that are out there
 17    in the marketplace?
 18                 MR. LEIB:      We're talking about in or
 19                    as a custom and practice pertaining to
 20    your client,
 21                 MR. SAELTZER:       Yes, in and around
 22    February of 2011.
 23                 THE WITNESS:       I look for any filter
 24    that's FDA approved, that I'm familiar with
 25    placing.

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  1    custom and practice at the time that he implanted
  2    on Mr. Saeltzer's patient -- client.               So I didn't
  3    view it as invading privilege.             It was historical
  4    as to his thought process.           So that's why I didn't
  5    assert a privilege, and I wouldn't instruct him.
  6                 MS. DALY:      I'm sorry, just again note my
  7    objection.
  8                 MR. LEIB:      Yeah, okay.      And Taylor, I
  9    just didn't want to -- the reason why I asked you
 10    to elaborate because I -- you know, I assume that
 11    you're going to be asking some questions, and I
 12    want to be, as I say, evenhanded as to asserting
 13    the privilege to make sure that I understand what
 14    your objection is so if other objections come down
 15    the pike during your questioning, you know, I'll
 16    instruct him evenly between both parties.
 17                 MS. DALY:      Thank you.
 18    BY MR. SAELTZER:
 19           Q.    Do you have the question in mind, Doctor?
 20    Would you like it read back to you?
 21           A.    I'm sorry, what am I being asked?
 22           Q.    That tells me we should probably read you
 23    the question.       So we'll have the question read to
 24    you, Doctor.
 25                 COURT REPORTER:        "

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  1         , was it your understanding that all
  2    FDA-cleared IVC filters had the same performance?
  3    They all performed the same?"
  4                 THE WITNESS:       I think that they -- they
  5    were -- they were all very comparable.
  6    BY MR. SAELTZER:
  7           Q.    Did you believe that they were all
  8    comparable in terms of risk of complications, such
  9    as migrations or fractures?
 10           A.    Yes.
 11           Q.    Doctor, going back to your state of mind
 12

                                                           , if an IVC
 14    filter carried with it a significant potential for
 15    serious injury or death, that would be important
 16    information for you to know as a clinician?
 17                 MR. LEIB:      Yeah, and I think that does
 18    call for an expert opinion, and I would instruct
 19    him not to answer.         And I would invite you to
 20    re-frame the question to avoid invading the
 21    privilege and --
 22                 MS. DALY:      Join in the objection.
 23    BY MR. SAELTZER:
 24           Q.    So Doctor, I want to go -- again, we'll
 25    go back, we time travel back to your thought

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  1                 MS. DALY:      Same objections.
  2                 MR. LEIB:      He doesn't want you to
  3    speculate.      If you have to guess, you have to tell
  4    him.    If you -- based upon the information you've
  5    been given, if you can state                           , you can
  6    go ahead and historically tell him that.
  7                 THE WITNESS:       Right or wrong, I felt that
  8    the risks for all of the FDA-approvable devices
  9    were -- were reasonable and customary, and that I
 10    probably wouldn't have deferred or postponed the
 11    filter placement in a patient who I felt really
 12    needed it.
 13    BY MR. SAELTZER:
 14           Q.    As I'm understanding your answer, right
 15    or wrong, you assumed that the complication rates
 16    among the FDA cleared or approved IVC filters was
 17    roughly equivalent?
 18           A.    Yes.
 19           Q.    If you had learned differently, that
 20    would be the type of information that you would
 21    have used in your clinical practice, true?
 22                 MS. DALY:      Same objections.
 23                 THE WITNESS:       I tend to trust the FDA
 24    more than individual companies.
 25    BY MR. SAELTZER:

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  1           Q.    Sure.     Understanding that you have some
  2    more trust of the FDA than individual companies, if
  3    you actually learned that the complication rates
  4    among filters was not equivalent, even though they
  5    had all been cleared, that's the type of
  6    information, as a treating doctor, you would have
  7    been interested in and considered -- at least
  8    considered when making your treatment decisions?
  9                 MR. LEIB:      Well --
 10                 MS. DALY:      Objection.      Same objection as
 11    before, leading, and now it's argumentative.
 12                 MR. LEIB:      It's -- it's clearly a
 13    hypothetical, but I think unless it's tethered to
 14    this patient, it is invading the privilege.                 So I
 15    would invite you to rephrase it to tether it this
 16    to patient.
 17    BY MR. SAELTZER:
 18           Q.    And I had intended to mean that's the
 19    type of information you would have considered in
 20    making your treatment decision for
 21                 MR. LEIB:      Okay.    If you know that, you
 22    can say yes.       And if you don't know, you say you
 23    don't know.      If you have to speculate -- he doesn't
 24    want you to guess at any of these answers.
 25                 THE WITNESS:       Yeah, I don't know.

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  1    that would have been something he would have
  2    factored into his clinical judgment.
  3                 MR. LEIB:      You've tethered it to the
  4    article, that's the problem.            The form of the
  5    question invades his privilege, and that's why I'm
  6    instructing him not to answer.
  7    BY MR. SAELTZER:
  8           Q.    If Bard knew that the G2X filter

                                    was not performing as well as
 10    the other competitors' IVC filters, and it knew
 11    that before                             is that the type of
 12    information you would have considered if Bard had
 13    brought that to your attention?
 14                 MS. DALY:      Same objection.
 15                 THE WITNESS:       I don't particularly pay
 16    attention to everything that's published or comes
 17    my way.     And so if I had read the article, I -- I
 18    may or may not have been swayed by its contents.
 19    BY MR. SAELTZER:
 20




 24



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  1    in addition to the medication?
  2           A.    Well, we're not always certain how the
  3    body will react to blood thinning medication.                    And
  4    if the patient has a pattern of -- of getting
  5    clots, there's concern that one more clot could --
  6    could be devastating.          You err on the side of
  7    caution, and you want to make sure that somehow the
  8    patient is protected.          And henceforth the notion of
  9    a filter would serve that purpose.
 10           Q.    Somewhat of a belt-and-suspenders
 11    approach here with the medicine and the filter?
 12           A.    Yes.




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  1    is that true?
  2           A.    Yes.
  3           Q.    Did you ever have an opportunity to read
  4    the instructions for use document that accompanied
  5    the Bard G2X filter


  7           A.    Yes.
  8           Q.    Are you aware that the IFU, or the
  9    instructions for use for that filter, lists, among
 10    the complications that -- that may occur, fracture,
 11    movement, and perforation of the filter?
 12           A.    Could you repeat the first part of the
 13    question?      Am I --
 14           Q.    Yes.    Are you aware that the instructions
 15    for use includes a section on complications that
 16    one might experience with a Bard G2X filter?
 17           A.    Yes.
 18           Q.    And that that -- those precautions
 19    included what we just talked about with
 20    complications, which would be fracture, movement of
 21    the filter, embolization of filter fragment pieces?
 22           A.    Yes.
 23           Q.    And also that the filter can perforate;
 24    correct?
 25                 MR. LEIB:      The question is --

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Exhibit H-C - REDACTED
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                      Lisa A. Hyde

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                             Veritext
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 1       A     If they did, I don't remember.      The only

 2   thing I heard was IVC filters.

 3        Q    About how many commercials would you say you

 4   saw before you found out your filter fractured?

 5       A     I have no idea.

 6       Q     Did you ever contact any attorneys in

 7   response to the advertisement you saw?

 8       A     No.

 9       Q     How did your husband come to find O'Steen

10   and Harrison, those attorneys?

11        A    I thought he had found it from an attorney

12   that he knew, but I believe he just Googled on his own

13   and found this company.

14       Q     And where are they located, I'm sorry.

15       A     O'Steen?

16       Q     Yes.

17       A     Phoenix.

18        Q    Now, let's just discuss some of your

19   background information.     What is your date of birth?

20        A

21       Q     And where were you born?

22       A

23        Q    What is your ethnicity?

24       A

25        Q    And where did you grow up?


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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ARIZONA

                                   MDL No. 2641
                   In Re Bard IVC Filter Products Liability Litigation
______________________________________________________________________________

                                  PLAINTIFF FACT SHEET

        Each plaintiff who allegedly suffered injury as a result of a Bard Inferior Vena Cava
Filter must complete the following Plaintiff Fact Sheet (“Plaintiff Fact Sheet”). In completing
this Fact Sheet, you are under oath and must answer every question. You must provide
information that is true and correct to the best of your knowledge. If you cannot recall all of the
details as requested, please provide as much information as you can and then state that your
answer is incomplete and explain why, as appropriate. If you select an “I Don’t Know” answer,
please state all that you do know about that subject. If any information you need to complete any
part of the Fact Sheet is in the possession of your attorney, please consult with your attorney so
that you can fully and accurately respond to the questions set out below. If you are completing
the Fact Sheet for someone who cannot complete the Fact Sheet for himself/herself, please
answer as completely as you can.

        The Fact Sheet shall be completed in accordance with the requirements and guidelines set
forth in the applicable Case Management Order. A completed Fact Sheet shall be considered
interrogatory answers pursuant to Fed. R. Civ. P. 33 and responses to requests for production
pursuant to Fed. R. Civ. P. 34 and will be governed by the standards applicable to written
discovery under Fed. R. Civ. P. 26 through 37. Therefore, you must supplement your responses
if you learn that they are incomplete or incorrect in any material respect. The questions and
requests for production of documents contained in this Fact Sheet are non-objectionable and
shall be answered without objection. This Fact Sheet shall not preclude Bard Defendants from
seeking additional documents and information on a reasonable, case-by-case basis, pursuant to
the Federal Rules of Civil Procedure and as permitted by the applicable Case Management
Order.

        In filling out this form, “healthcare provider” shall mean any medical provider, doctor,
physician, surgeon, pharmacist, hospital, clinic, medical center, physician's office, infirmary,
medical/diagnostic laboratory, or any other facility that provides medical care or advice, along
with any pharmacy, x-ray department, radiology department, laboratory, physical
therapist/physical therapy department, rehabilitation specialist, chiropractor, or other persons or
entities involved in your diagnosis, care and/or treatment.

       In filling out this form, the terms “You” or “Your” refer to the person who received a
Bard Inferior Vena Cava Filter manufactured and/or distributed by C. R. Bard, Inc. or Bard
Peripheral Vascular, Inc. (“Bard Defendants”) and who is identified in Question 1(a) below.

      To the extent that the form does not provide enough space to complete your responses or
answers, please attach additional sheets as necessary, Information provided by Plaintiff will only




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be used for the purposes related to this litigation and may be disclosed only as permitted under
the protective order in this litigation.




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Do Not Disclose - Subject to Further Confidentiality Review

  1                     UNITED STATES DISTRICT COURT
  2                         DISTRICT OF ARIZONA
  3
  4    IN RE BARD IVC FILTERS     ) No. MD-15-02641-PHX-DGC
       PRODUCTS LIABILITY         )
  5    LITIGATION                 )
                                  )
  6    This document pertains to )
                                  )
  7    Lisa Ann Hyde and Mark     )
       Hyde,                      )
  8                               )
                 Plaintiffs,      )
  9                               )
             vs.                  )
 10                               )
       C.R. Bard, et al.,         )
 11                               )
                 Defendants.      )
 12                               )
 13            DO NOT DISCLOSE - SUBJECT TO FURTHER
                      CONFIDENTIALITY REVIEW
 14
 15         VIDEOTAPED DEPOSITION OF
                      THURSDAY, MARCH 23, 2017
 16                     PALO ALTO, CALIFORNIA
 17
 18
 19
 20
 21    Reported by:      Shelley M. Sailor, CSR No. 10254
 22
 23
 24                     GOLKOW TECHNOLOGIES, INC.
                    877.370.3377 ph | 917.591.5672 fax
 25                          deps@golkow.com

Golkow Technologies, Inc.                                               Page 1
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  1               MR. NORTH:      No.   You're just leading.
  2    BY MR. LOPEZ:
  3          Q.   Is that what it states there, Doctor?
  4          A.   Yes.
  5          Q.   Okay.    Let's go back to the fact that you
  6    have identified this as an Eclipse IVC filter.                   How
  7    did you identify it as an Eclipse IVC filter?
  8          A.   The appearance.       The -- mainly the
  9    appearance of it on the x-ray.
 10          Q.   On the scan?
 11          A.   Yeah.
 12          Q.   In reviewing your records, you'll notice
 13    that you later describe it as a Bard G2X.              Do you
 14    recall that?
 15          A.   Yes.
 16          Q.   Is that because once you were actually able
 17    to see the device, you were able to distinguish it
 18    between a G2X and an Eclipse?
 19          A.   It's the same filter.         One of them is just
 20    another name for when they added an electro-polish
 21    on the device.      But it's pretty much the same
 22    filter.
 23          Q.   Okay.    Do you know where that filter is?
 24          A.   I don't.
 25          Q.   Were you able to distinguish that this was

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  1          Q.   All orders and results?
  2          A.   Yes.
  3          Q.   The date -- I don't know whether that's --
  4    is that a date
  5          A.   What was the question?
  6          Q.   Well, there's a date it looks like
  7    electronically signed and it says results -- let's
  8    start it says,                                        and it
  9    says completed on



 11          A.   I'm not sure what that date refers to.
 12          Q.   Okay.    And then there it shows you as the
 13    attending physician, and you had three other of your
 14    colleagues with you at the deposition -- at the
 15    deposition -- at the surgery.           Correct?
 16          A.   Yes.
 17          Q.   Okay.    Now go to the next page, 55.           And
 18    under Findings it says,

                                                   Do you see that?
 20          A.   Yes.
 21          Q.   And is that based on your experience of
 22    having dealt with that device before, that you were
 23    able to identify it as a G2X filter?
 24          A.   Yes.
 25               MR. NORTH:      Objection to the form.         Asked

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                             Deposition of:
                Robert McMeeking , Ph.D.
                              July 6, 2017


                            In the Matter of:

           In Re: Bard IVC Filters Products
                       Liability




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                              Atlanta, GA, 30309
           800.808.4958 | calendar-atl@veritext.com | 770.343.9696
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                          In Re: Bard IVC Filters Products Liability

                                                                   Page 23

1             market.
2             BY MS. DALY:
3                   Q     Is it your opinion that Bard failed to
4             reduce as far as reasonably practicable the
5             remaining risks by taking adequate protection
6             measures?
7                   A     Can you repeat the question, please.
8                   Q     Yes.
9                         Is it your opinion that Bard failed to
10            reduce as far as reasonably practicable the
11            remaining risks by taking adequate protection
12            measures?
13                        MR. O'CONNOR:       Form and foundation.
14                        THE WITNESS:       In certain of the designs of
15            the filters those risks, in my opinion, were not
16            reduced to the extent practicable, and I would say
17            that that applies to all of the models that we are
18            discussing in the -- in the present case.
19            BY MS. DALY:
20                  Q     And which risks do you identify -- that
21            you have an opinion that Bard failed to reduce?
22                  A     The risks of tilting, perforation,
23            migration and fracture by fatigue.
24                  Q     Have you determined by any research or any
25            other method that any other manufacturer of

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                          In Re: Bard IVC Filters Products Liability

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1             developed any bench tests.
2                   Q    And you just said you hadn't done any
3             animal testing and you didn't --
4                   A    No.
5                   Q    -- have any ideas of protocols?
6                   A    I don't do animal testing and I --
7                   Q    Okay.    With respect to the comment you
8             just made about Bard should have taken certain
9             measures sooner, we've talked about some of these
10            before.    The electropolishing issue, for example,
11            you've testified before that you thought they
12            should have done that earlier?
13                  A    I believe I said I rely on prof- --
14            Dr. Richie in regard to the question of
15            electropolishing the wires that are in the filters.
16                  Q    Okay.    So with respect to an opinion that
17            Bard could have electropolished its retrievable
18            filters before it did so in the Eclipse, you're not
19            going to give that opinion, you defer to
20            Dr. Richie?
21                  A    Well, I --
22                       MR. O'CONNOR:        Form and foundation.
23                       THE WITNESS:        I'll defer to his opinion in
24            terms of the wires, but a point I would like to
25            make is that they could have switched to using tube

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1             materials sooner, and they could have made the
2             material out of tube material which they could --
3             which they could have electropolished at the stage
4             of -- of making the filters from tube material
5             rather than wires.
6             BY MS. DALY:
7                   Q    I'm sorry, I'm missing what that word is.
8             What materials?
9                   A    Oh, so --
10                  Q    You said troop?
11                  A    Tube.
12                  Q    Tube materials.
13                  A    Tube, yeah.
14                  Q    Got it.
15                  A    T-u-b-e.
16                  Q    Okay.     Do you know of any manufacturer
17            that was using tube materials to make IVC filters
18            before the time that Bard came out with the
19            electropolished Eclipse?
20                  A    No.
21                  Q    Do you have any papers you can cite me to
22            that that -- that one could electropolish wire
23            adequately to have it improve any characteristic of
24            an IVC filter before Bard did so in the Eclipse?
25                       MR. O'CONNOR:        Form.

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1                        THE WITNESS:        I've -- I've not
2             investigated that aspect of the situation, and as I
3             said before, I defer to Dr. Richie in regard to
4             electropolishing wires.
5             BY MS. DALY:
6                   Q    Are there any other changes that you think
7             Bard later made to its filters that it could have
8             made earlier --
9                   A    Yes.
10                  Q    -- to -- to impact resistance to
11            complications?
12                  A    Yes.
13                  Q    All right.      And what are those?
14                  A    They could have developed caudal anchors
15            sooner than they ultimately did.              They could have
16            developed penetration limiters sooner than they
17            ultimately did.      And they could have redesigned the
18            filter configuration to try and find a better -- a
19            better combination of -- of -- of phenomena that
20            would improve the behavior of the filter in terms
21            of the risks involved.
22                  Q    All right.      So let's talk about caudal
23            anchors and limiters.          On what do you base your
24            opinion that Bard could have added caudal anchors
25            and limiters earlier than it did?

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1                   A    Well, the -- the reason is that they
2             eventually did put caudal anchors on the filters,
3             and so my point is simply that they could have
4             started to consider that possibility sooner than
5             they -- they did, once they realized that caudal
6             migration was contributing to tilt and tilt was
7             contributing to other failures that the filter was
8             experiencing.
9                   Q    Okay.    Do you know of any other IVC filter
10            manufacturer who incorporated anchors or limiters
11            earlier than Bard did?
12                       MR. O'CONNOR:        Form and foundation.
13                       THE WITNESS:        Not to my knowledge.
14            BY MS. DALY:
15                  Q    Okay.    Do you know any -- do you know in
16            any in-depth way what the process was internally in
17            Bard to develop these anchors and limiters?
18                       MR. O'CONNOR:        Form.
19                       THE WITNESS:        I've read some of the
20            documents that describe activities that were
21            involved, but I -- I wouldn't say that I know in
22            detail what the processes were that were involved
23            in developing those caudal anchors.
24            BY MS. DALY:
25                  Q    Do you know -- do you know of design

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1             efforts that Bard made to add these anchors and
2             limiters that were unsuccessful initially and more
3             changes had to be made?
4                        MR. O'CONNOR:        Form.
5                        THE WITNESS:        I do know that some of the
6             designs of the caudal anchors that they
7             investigated did not work as well as others.
8             BY MS. DALY:
9                   Q    The other thing you talked about was that
10            Bard could have redesigned the configuration of its
11            filters.    It was a little vague to me.            What do you
12            mean by that?
13                  A    Well, I mean the -- the shape of the
14            limbs, the dimension of the limbs, in other words
15            their -- their diameter, they could have considered
16            different numbers of limbs, they could even have
17            considered moving to a different material.               So
18            there's a fairly large number of design choices
19            that could have been considered, and they could
20            well have come up with a combination of features in
21            the design that gave them a better combination
22            of -- of phenomena in terms of how the filter
23            behaved.
24                  Q    Do you know -- are you aware of any steps
25            that Bard took along the way from Recovery to

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1             BY MS. DALY:
2                   Q    You talk about the changes to the G2X cap,
3             and I want to know what your opinion is on the
4             chamfer design in the G2X compared to the G2.
5                        MR. O'CONNOR:        You can refer to your
6             report, too, it's in there.
7             BY MS. DALY:
8                   Q    Sure.
9                   A    In my opinion, the chamfer was changed
10            very little in going from the G2 to the G2X, and
11            the reason is that although the cap was bead
12            blasted, the chamfer area was masked during the
13            bead blasting and as a consequence of that, the
14            bead blasting would not have broken the sharp
15            edges, which are the -- the problem that is
16            associated with the chamfer.              And this is contrary
17            to Dr. Fasching's claim that the bead blasting
18            would have softened that particular sharp edge.
19                       The next point is that after the bead
20            blasting, there was a process of tumbling the cap
21            in a bed of ceramic particles, and that would have
22            removed some material by a process of pol- --
23            essentially polishing, mechanical polishing, but in
24            my assessment it would not have removed a great
25            deal of material and, therefore, would not have

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1             changed the shape of the chamfer very much.
2                        And as information that's consistent with
3             that, we can look at Figure -- Figure 187 in
4             Dr. Fasching's report, which the report dated May
5             11 of 2017, where it can be seen that there are two
6             rounded edges at the bottom of the cap; one of them
7             is very gradual, which is the one on the outside,
8             and my assessment is that that edge was broken by
9             the bead blasting; whereas the one on the inside of
10            the cap adjacent to the limb you can see is much
11            sharper in the sense that the radius of curvature
12            is much smaller than the other curved surface.
13                       And I did an estimate of the radius of
14            curvature and I found that the radius of curvature
15            for that chamfer is about 20 microns.             Now, I would
16            defer to those who measure the -- the radius of
17            curvature directly in images on the electron
18            microscope and so on, so I'm not going to say this
19            is a definitive measure of the radius of curvature,
20            but it leaves me with the impression that the
21            radius of curvature is about 20 microns.              And the
22            radius of curvature that was measured by
23            Dr. Fasching on a Recovery filter quite some time
24            ago was 15 microns.
25                       And so it's my inference that there was

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1             not a big change to the radius of curvature of the
2             chamfer in the processes that were used in the
3             manufacture of the G2X.           And that, therefore, the
4             strain concentration which would be associated with
5             that chamfer was not reduced significantly,
6             although if some material was removed, it would
7             have reduced the strain concentration to some
8             extent.
9                   Q    Okay.    So, first of all, let me start with
10            that last thing first.          You have not done any
11            specific modeling or FEA to determine what the
12            change in chamfer that you're willing to say
13            occurred to this 20 millimeters -- microns,
14            would -- what that impact would be on fracture
15            resistance?     You have not done any of that work
16            specifically?
17                  A    Well, I've -- I've considered the
18            difference between a radius of curvature of 5
19            microns and one in which, if you like, the radius
20            of curvature is very large, but in between -- which
21            spans the range from a radius of curvature of 5
22            microns to ones which are much larger.              But other
23            than that, I've not done a specific calculation.
24                       But I should point out that the reduction
25            is proportional to the degree of change of the

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1             severe stiffness constraint on whether the relative
2             motion of the arms and the legs can be accommodated
3             as the filter, if you like, tries to stretch.                So
4             that -- that's a possibility.
5                   Q    Do you have any case that you can point to
6             that you have worked on where there was imaging
7             evidence of perforation, tilt or migration that
8             occurred before a leg fracture?
9                   A    I haven't looked into that.
10                       MR. O'CONNOR:        Belated objection to the
11            form of the question.
12            BY MS. DALY:
13                  Q    Have you done any work to determine what
14            modifications Bard could have made to the legs
15            themselves to improve on those legs' contribution,
16            if any, to tilt, perforation, fracture or
17            migration?
18                  A    No, I haven't looked into that.
19                  Q    We've talked a little bit about the
20            anchors and limiters present on the Meridian.                Is
21            it your opinion that those are reasonable
22            modifications by Bard to -- to improve resistance
23            to migration, tilt and perforation?
24                  A    It's a reasonable concept for how the tilt
25            and migration behavior can become -- can be

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                          In Re: Bard IVC Filters Products Liability

                                                                 Page 130

1             limited.
2                   Q     Would -- do you have an opinion whether
3             those anchors or limiters on the Meridian would add
4             fracture resistance to that filter?
5                   A     I have no opinion on that.
6                   Q     Same questions with Denali, do you think
7             that the limiters that the Denali has will act to
8             improve resistance to migration, tilt, perforation
9             and fracture?
10                        MR. O'CONNOR:        Form.
11                        THE WITNESS:        It's -- it is reasonable to
12            expect that there will be some effect on -- on tilt
13            and migration and that those would have possible
14            knock-on consequences to perforation and fracture.
15            And so I'd like to revise my answer about the
16            Meridian in the same way, that the caudal anchors,
17            to the extent they limit tilt and migration, they
18            could have beneficial effects on perforation and
19            fracture.
20            BY MS. DALY:
21                  Q     Okay.   What modifications to the G2 filter
22            assisted in resistance to cephalic migration?                Do
23            you have an opinion on that?
24                        MR. O'CONNOR:        Form.
25                        THE WITNESS:        I'm not aware of any changes

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1             but does not change its orientation relative to the
2             vena cava wall, then the stiffness will be four
3             times, which means that the force will -- that you
4             apply will be four times that which you got when
5             you did not constrain the rotation.
6                   Q     Okay.   And that stiffness in the petal
7             area may make folding that back down, once it's in
8             the patient to put it in a sheath for retrieval,
9             more difficult?
10                  A     It would mean --
11                        MR. O'CONNOR:        Form.
12                        THE WITNESS:        It would mean --
13                        MR. O'CONNOR:        Foundation.
14                        THE WITNESS:        It would mean that you have
15            to pull on the filter with a bigger force relative
16            to the Recovery catheter to put into that Recovery
17            catheter.
18            BY MS. DALY:
19                  Q     And what that might translate into insofar
20            as patient injury, you do -- you have not done an
21            analysis of that?
22                  A     I have not done an analysis of that.
23                  Q     All right.      Now, this is what I wrote down
24            about your conclusions from the SNF report, and I
25            want to talk about these separately and tell me if

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                                                                 Page 221

1             that?
2                   A     No.
3                         MR. O'CONNOR:       Form.
4             BY MS. DALY:
5                   Q     Nor did you do it with the Denali
6             laser cut from a nitinol tube that also has
7             anchors?
8                         MR. O'CONNOR:       Form.
9                         THE WITNESS:       I didn't do any of those
10            analyses because it's my assessment that those
11            changes did not make a significant difference
12            to the -- to the filters in terms of reducing
13            the danger that they present because of their
14            failures.
15            BY MS. DALY:
16                  Q     Are you giving the opinion that the Simon
17            nitinol is an alternative safer product than the
18            Bard retrievable products?
19                        MR. O'CONNOR:       Form.
20                        THE WITNESS:       I'm offering the opinion
21            that in the setting of permanent use of a filter,
22            which the Recovery and the G2 and its successors
23            can -- can be used as, that the Simon nitinol is a
24            safer alternative.
25            BY MS. DALY:

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                                                                 Page 308

1                   Q    And when you talk about worst-case
2             scenario, is that a standard that engineers are
3             required to follow?
4                   A    Yes, in dealing with this kind of problem,
5             engineers are expected and required to identify the
6             worst-case conditions and then take that into
7             consideration when assessing the performance of
8             their design and the consequences of -- of the
9             design.
10                  Q    Now I want to -- I want to move around a
11            little bit.     Well, let me ask you about
12            calculations and analyses.             You talked about the
13            ones you've performed.          In your work in this case,
14            did you look at and review the types of
15            calculations, the engineering analyses, that Bard
16            performed?
17                  A    I reviewed finite element calculations
18            that they performed.
19                  Q    And do you have an opinion about whether
20            those were sufficient or adequate?
21                  A    Almost all of them were inadequate for
22            various reasons.
23                  Q    What were the reasons, among the reasons,
24            please?
25                  A    Well, some of the reasons were that it was

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                                                                 Page 321

1             various -- of the two filters that play similar
2             roles in the two filters.
3                   Q     The medical articles that you've reviewed
4             about the Simon nitinol filter, including the
5             Poletti, have those affected your opinions at all?
6                   A     No, they have not affected my opinions.
7                   Q     Do those articles support your opinion
8             that the Bard is a better filter -- I mean that the
9             Simon nitinol is a better filter in terms of
10            failures?
11                  A     Since the Poletti article comments that
12            the Simon nitinol filter is a safe filter, I use
13            that information in the paper to support my view
14            that the Simon nitinol is a safer filter than the
15            other ones.
16                  Q     All right.     Now, let's talk about your
17            case-specific opinions.           To arrive at the opinions
18            you did in each of the five Bellwether cases,
                                                                          ,
20            correct?
21                  A     Correct.
22                  Q     Was it necessary for you to do any
23            calculations specific to those patients?
24                  A     No, because the failures that were
25            observed in them were consistent with the

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REDACTED DOCUMENTS RELATED
       TO DOCKET 8186

Exhibit J-A - REDACTED
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PATIENT NAME:
MEDICAL RI~CORD #:
BILLING 41:
DICTATING PHYSICH\N:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BIRTH:


                                  DISCHARGE SUMMARY


DATE OF ADMISSION:

DATE OF DISCHARGE:

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DATE OF BIRTH


DISCHARGE DIAGNOSIS



OTHER DISCHARGE DIAGNOSES




PRI Ncr PAL PROCEDURES   Pr~RFORMED




BRIEF HOSPITAL COURSE




                         DISCHARGE SUMMARY- Page 1 of 3
                   PIUNTED BY: HUGHESHl
                   DATE     11/17/2015




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PATIENT NAME:
MEDICAL RECORD #:
BILLING #:
DICTA'rING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF' BIRTH:


                                  DISCHARGE SUMMARY




DISCHARGE DISPOSITION


                        DISCHARGJ.o~   SUMMARY- Page 2 of 3
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 BILLING #:
 DICTATING PHYSICIAN:
 CO-SIGNING PHYSICIAN:
 ROOM AND BED:
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                                DISCHARGE SUMMARY




Attending Physician


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PATIENT NAME:
MEDICAL RECORD #:
BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BIRTH:


                               HISTORY AND PHYSICAL


DATE OF ADMISSION:

ATTENDING PHYSICIAN


RESIDENT PHYSICIAN


INTERN PHYSICIAN


CHIEF COMPLAINT


HISTORY Of' PRE~SENT 1LLNESS




PAST MEDICAL HISTORY




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CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF.' BIRTH:


                           HISTORY AND PHYSICAL


MEDICATIONS


ALLERGIES


PAST SURGICAL HISTORY




SOCIAL HISTOHY




FAMILY HISTORY


REVIEW OF SYSTEMS
CONSTITUTIONAL:
           EYES:
EARS, NOSE, AND THROAT:
CARDIOVASCULAR:
RESPIRATORY:
GASTROINTESTINAL:

GENITOURINARY:
MUSCULOSKELETAL:

NEUROLOGIC:
ENDOCRINE:
PSYCHIATRIC:
INTEGUMENT:
llliME/LYMPH:

LABS

                     HISTORY AND PHYSICAL- Page 2 of 5




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CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE Of BIRTH:


                             HISTORY AND PHYSICAL




PHYSICAL EXAMINATION
VITAL SIGNS:

CONSTITUTIONAL:

EYES:

EARS, NOSE, AND THROAT:

NECK:

RESPIRATIONS:



MUSCULOSKELETAL:

INTEGUMENT:
LYMPH:
NEUROLOGIC:

PSYCH:

GU:
BREAST:

ASSESSMENT AND PLAN
   1.




                       HISTORY AND PHYSICAL- Page 3 of 5




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                          HISTORY AND PHYSICAL




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PATIENT NAME:
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DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BIRTH:


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                        HISTORY AND PHYSICAL- Page 5 of 5

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PATIENT NAME:
MEDICAL RE:CORD #:
BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OE' BIRTH:


                                  OPERATIVE REPORT


DATE Ol" OPERATION:

PREOPERATIVE DIAGNOSIS


POSTOPE~RATIVE   DIAGNOSIS


PROCEDURE PERFORMED




ANESTHESIA


ATTENDING SURGEON


RESIDENT SURGEON


FINDINGS




COMPLICATIONS


DRAINS/PROSTHESIS


                             OPE:RATIVE NOTE- Page 1 of 5




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PATIENT NAME:
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BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:


                                OPERATIVE REPORT



SPECIME:N


ESTIMATED BLOOD LOSS


IV FLUIDS


URINE OUTPUT


MONITORING LINES


CONDITION POSTOPERATIVELY


INDICATIONS FOR PROCEDURE




DESCRIPTION OF PROCEDURE




                           OPERATIVE NOTE- Page 2 of 5




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PATIENT NAME:
MEDICAL RECORD #:
BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:


                             OPERATIVE REPORT




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PATIENT NAME:
MEDICAL RECORD #:
BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:


                              OPERATIVE REPORT




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BILLING #:
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CO-SIGNING PHYSICIAN:
ROOM AND BED:


                             OPERATIVE REPORT


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DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE Of BIRTH:


                                    OPERATIVE REPORT


DATE OF OPERATION:

PREOPERATIVE DIAGNOSIS


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PROCEDURES PERFORMED



INDICATIONS




DESCRIPTION OF PROCEDURE




INTERPRETATION OF CAYAGRAM:




                              OPERATIYJ:<:: NOTE- Page 1 of 2




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MEDICAL RECORD #:
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CO-SIGNING PHYSICIAN:
ROOM AND BED:


                             OPERATIVE REPORT




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PATIENT NAME:
MEDICAL RECORD 4~:
BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BIRTH:

                                   DISCHARGE SUMMARY

DATE OF ADMISSION:


DISCHARGE DATE:


INTERN:


ADMITTING DIAGNOSIS (ES) :




DISCHARGE DIl\GNOSIS (ES) :




CONSULTANTS INVOLVED:


LABORATORY DATA:



IMAGING:




                              DISCHARGE SUMMARY - Page 1 of 3




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PATIENT NAME:
MEDIC1\L RECOHIJII:
BILLING 11:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
HOOM AND BED:
DATE OF' BIHTH:

                              DrSC}D\HGE SUMMARY




DISCHARGE MEDICATIONS:




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PATIENT NAME:
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BILLING/f :
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BIRTH:

                              DISCHARGE SUMMARY




DISCHARGE FOLLOWUP:



FOLLOWUP ISSUES:




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D:
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Job
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Imaging Results



                                                         Result time:

  Final result




 Please enter a Disposition for this patient
                 P

                                                                        Page 8 of 15




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PATIENT NAME:
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BILLING #:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BIRTH:

                                     OPERATIVE REPORT

DATE OF OPERATION:


POS'l'OPEHA'I'IVE DIAGNOSIS (ES) :




OPERATION (S) PERFORMED:




SURGEON:


CLINICAL HISTORY:




DESCRIPTION OF OPERATION:




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MEDIC1\L RECOHD If:
BILLING it:
DICTATING PHYSICIAN:
CO-SIGNING PHYSICIAN:
ROOM AND BED:
DATE OF BJHTH:

                             OPERATIVE REPORT




IMPRESSION:




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Job#
cc:




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  REDACTED DOCUMENTS RELATED
         TO DOCKET 8186

   Exhibit J-B - REDACTED
Case 2:15-md-02641-DGC Document 8385-7 Filed 10/24/17 Page 237 of 381
Do Not Disclose - Subject to Further Confidentiality Review

  1                   UNITED STATES DISTRICT COURT
                           DISTRICT OF ARIZONA
  2

  3

  4    IN RE:    BARD IVC FILTERS            ) Case No.
       PRODUCTS LIABILITY LITIGATION         ) MD-15-02641-PHX-DGC
  5    ____________________________________________________
  6

  7

  8                          DO NOT DISCLOSE
  9          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
 10

 11

 12     VIDEOTAPED DEPOSITION OF
 13                           March 23, 2017
 14                         Savannah, Georgia
 15                              4:06 p.m.
 16

 17

 18

 19

 20

 21

 22

 23    Reported by:     Karen Kidwell, RMR, CRR
 24                    GOLKOW TECHNOLOGIES, INC.
                  877.370.3377 ph | 917.591.5672 fax
 25                          deps@golkow.com

Golkow Technologies, Inc.                                               Page 1
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  1    BY MR. COMBS:

  2            Q.   If a medical device manufacturer learns

  3    that a device is less safe than alternative

  4    treatments or other alternative products by other

  5    competitors, would you expect them to report that to

  6    you and other doctors?

  7            A.   I mean, we certainly always expect that

  8    they report anything that's not safe to the FDA and

  9    to the physicians.

 10            Q.   And you need to know information about

 11    safety to make informed decisions about using

 12    products?

 13            A.   True.

 14            Q.   And because you're advising patients, and

 15    they can't make informed consent about using products

 16    unless you have all the information to inform them.

 17    True?

 18            A.   True.

 19            Q.   And the information that a medical device

 20    manufacturer provides to you about their product, you

 21    would expect that to be accurate and complete.             True?

 22            A.   Sure, to the best -- you know, certainly

 23    to the best of whatever knowledge they have acquired

 24    regarding safety and problems.

 25            Q.   Right.    They can't leave out, though,

Golkow Technologies, Inc.                                           Page 21
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  1    rest of their life.

  2                  So it really becomes a spectrum of a

  3    risk/benefit ratio.       Which is really what -- true

  4    with all surgery and all medical devices:            What's the

  5    risk of doing it and the risk of not doing it?

  6           Q.     And for the retrievable filters, I'll ask

  7    kind of a compound question.         When are they removed,

  8    and who decides to remove them?

  9           A.     Well, in general, in the country and the

 10    world, frequently no one.        A lot of times they're

 11    just left in place.       I mean, the majority of them are

 12    left in place.

 13                  More recently, it could be whoever, you

 14    know, comes to the awareness that the filter is in

 15    place and might not any longer have a risk, a

 16    favorable risk/benefit ratio, and so that could be

 17    anyone.     It could be the implanting physician.          It

 18    could be the patient.       It could be the primary care

 19    physician.     You know, could be any of their

 20    specialists.

 21           Q.     And I guess, since you've been here in

 22    this practice, Savannah, for -- since completing your

 23    training, since you've been here, what IVC filter

 24    models have you used, including up until today?

 25    Which ones do you use?

Golkow Technologies, Inc.                                           Page 33
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  1           A.    We have predominantly always used -- I

  2    won't say "always"; we have predominantly used the

  3    Bard filters.     The G2 and the Simon Nitinol was the

  4    nonretrievable, and the Meridian and now the Denali.

  5    And a couple in between.        They've changed every few

  6    years.

  7                 Now there's even a nifty app for the

  8    iPhone, because it's gotten so complicated with all

  9    the different filter devices.

 10           Q.    And why have -- well, when you say -- when

 11    you talk about using predominantly Bard IVC filters,

 12    does that go for your whole practice group here?

 13           A.    Predominantly.      You know, there's Cook

 14    filters, and there's other competitors' filters.

 15    There's the original Greenfield IVC filter.             But we

 16    have mostly always stocked -- I would say yes,

 17    definitely yes, the majority of them that we see

 18    placed by myself and all my partners have always been

 19    the Bard filters.

 20           Q.    And why is that?

 21           A.    They've just always had the reputation of

 22    having the best filters.        There has been the most

 23    data on them, and I think they're likely -- it's

 24    certainly variable from institution to institution,

 25    but everywhere I've been, they've been the

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  1    and what -- and what the complications were.             But,

  2    you know, the hard part is telling you what the exact

  3    time frame of all that was.

  4           Q.    Okay.    That's fair.     And we'll get to it

  5    shortly, but the --




  9           Q.    Do you recall any conversations with

 10    Ms. Vilece or anyone else at Bard about the Eclipse,

 11    specifically, and if so, what they told you about the

 12    Eclipse?

 13           A.    I really don't.      I don't have specific

 14    recollection about the individual devices, except

 15    that, you know, the G2 I think was the one that was

 16    known to be the biggest problem, whenever that became

 17    evident, and then was quickly replaced.

 18           Q.    And when you say the G2 became the biggest

 19    problem, what was the problem with the G2?

 20           A.    That's the device that had the biggest

 21    reports about migrations and fractures in the device.

 22           Q.    And was it a kind of thing where you guys

 23    collectively, at the practice, liked using the Bard

 24    IVC filters, and so whenever they came out with a new

 25    one, you would just kind of incorporate and adopt the

Golkow Technologies, Inc.                                           Page 40
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  1    out of an IFU, cautiously, and just have become

  2    standard of care.

  3                 There's lots of examples of things we

  4    still use appropriately that might not be in the IFU.

  5    But, in general, we certainly consider the IFU, and

  6    -- because that's what the research was done on for

  7    certain devices, and that's what the FDA is

  8    recommending, and that's what the company -- and

  9    typically, that's very strongly what the company

 10    recommends.

 11           Q.    And do you read the IFU?

 12           A.    Sometimes.     I mean, I have read them.            I

 13    don't -- certainly don't read them on every package,

 14    because they're the same from the same device, but --

 15    you know, not -- not all the time, but it does come

 16    up, for example, at meetings, or you're reading about

 17    and someone's discussing an issue with an IFU.             You

 18    know, if something is within the IFU or not, to help

 19    define things that might be outside of the IFU but

 20    still medically indicated.

 21           Q.    Do you know if you ever read the IFU for

 22    the Eclipse IVC filter?

 23           A.    Not that I recall.

 24           Q.    Okay.    And IFUs have warnings on them of

 25    side effects, complications, things like that, also?

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  1            A.   Yes.

  2            Q.   And even if you haven't read the Eclipse

  3    IFU, you're probably generally familiar with IVC

  4    filter IFUs, if they warn of things like fractures,

  5    migration, perforation, tilt; complications like

  6    that.    Right?

  7            A.   Yes.    Yes.

  8            Q.   But is it your understanding these

  9    complications are rare, for IVC filters?

 10            A.   Well, depends how you define "rare."            I

 11    mean, back -- originally, when we were implanting

 12    filters 15, 20 years ago, everyone thought they were

 13    rare.

 14                 Now people think they're -- reached a

 15    peak, and reached a peak in frequency, and then we

 16    think that now they're -- they're less frequent than

 17    they were before.      So it's been a migrating target in

 18    terms of what the risks are or what our understanding

 19    of the risks are.

 20            Q.   If you can recall your mindset in



               what was your understanding of the rarity of

 23    complications from IVC filters then?

 24            A.   I don't have independent recollection of

 25    placing that particular filter, but the best I can

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  1    tell from that date and from my note, is that that

  2    is -- that predates the peak of my concern and the

  3    release of the warnings about the complications of

  4    filters.

  5           Q.    You've learned more about filters since

  6    then --

  7           A.    Right.

  8           Q.    -- and their complications?

  9           A.    Right.

 10           Q.    If Bard knew about complications with its

 11    filters at that time,

                       you would have wanted to know that,

 13    right?

 14           A.    Yes.

 15           Q.    I may have asked you this already, but do

 16    you have a specific recollection of

 17           A.    No.

 18           Q.    And that's certainly understandable for

 19    someone you saw briefly seven years ago, right?

 20           A.    Right, right.

 21                 MR. COMBS:     I think we already marked the

 22          op notes, right, 4017?        Here we are.

 23           (Exhibit 4017 was previously marked for

 24    identification.)

 25

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  1    BY MR. COMBS:

  2           Q.      Doctor, throughout the rest, I'll

  3    probably show you a bunch of exhibits.           We'll start

  4    with your op notes, and I may have some other things

  5    that go with that we'll mark.         If we can, let's just

  6    go ahead and mark --

  7                 MS. DALY:     Just tell me the Bates numbers

  8          on the bottom of where you're going.

  9                 MR. COMBS:     We'll start with just the

 10          Exhibit 4017, on the op report, but I'm also

 11          going to look at 1292 and 1506 and 7, the

 12          consent forms, and then another of the -- the

 13          label.    And that will be it.

 14    BY MR. COMBS:

 15           Q.    So in front of you now, Doctor,

 16    Exhibit 4017,

                              Correct?

 18           A.    Yes.

 19



 21           Q.    And, again, as far as you know, that's the

 22    only time you ever saw her or interacted with her or

 23    treated her, that date?

 24



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  1    There probably would be some note in the medical

  2    record from the hospital, but I never -- it's not

  3    part of our record, our medical record.

  4           (Exhibit 4018 was marked for identification.)

  5    BY MR. COMBS:

  6           Q.    And I think you're actually right.           And

  7    what you've been handed here, Exhibit 4018, is some

  8    other medical records, including the consent forms

  9    for the procedure.



 11           A.    Yes.    So I -- there is almost always a

 12    consultation, though, before, just when we see the

 13    patient, make the decision, talk to the patient,

 14    consider the data in order to communicate back to the

 15    other physicians.      So there would have been some

 16    other note.

 17           Q.



                                                       And so to the

 20    extent you need to refer back to any of this -- and

 21    I'll ask you some specific questions about this,

 22    too -- but if you need to look at any of this to

 23    refresh your recollection, go ahead.

 24



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  5           A.    Just slightly short of that, because it

  6    retains the option to remove it, because if a filter

  7    does clot off, it's a problem if you can't remove it.

  8    So there's some advantages to having a retrievable

  9    filter, if you, even if you think it's going to stay

 10    in long term.




 14           Q.    And then around that same section we were

 15    just looking at there, maybe the same sentence,

 16    there, in the indications, on the first page of your

 17    op report, it says:




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  1           A.    Not really, because some people have

  2    very -- I would say the majority of people have a

  3    more clear indication for permanent filter or have a

  4    more clear indication for a temporary filter.




  9           Q.    And I want to ask about a little bit -- a

 10    different portion of that sentence, though.




 16           Q.    Okay.

 17           A.




 25           Q.    And that would be your practice, right?

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  1    anymore.




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  1    that one of the reasons that Bard came out with the

  2    different versions of its IVC filters was to try to

  3    address problems with its filters fracturing?

  4           A.    Yes.    In that, you know, there were

  5    always -- we know there were always complications,

  6    some complications of them and that they were -- you

  7    know, it just seemed like the filters were similar to

  8    all of the stents we used, the -- basically, there's

  9    always one out in the market and there's one always

 10    under R&D that's the next generation, trying to

 11    improve upon either patency or lower complications

 12    or -- so we knew there was always one, you know, just

 13    from this pattern, it became evident that there was

 14    always another -- another one -- another one coming.

 15    If that answers your questions.

 16           Q.    Another model of the Bard IVC filters

 17    coming?

 18           A.    Right, right.

 19           Q.    Do you have any idea what those rates of

 20    complications or fractures were for Bard IVC filters

 21    or any other manufacturer?

 22           A.    I mean, we were given different -- you

 23    know, you would hear different numbers from different

 24    sources.    You'd hear a different presentation at a

 25    talk, that might talk about certain complications

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  1    based on one study, and then there's retrospective

  2    studies; there's the meta-analyses of combining

  3    multiple studies.

  4                 So there is -- there just is no one

  5    answer, you know, to tell you that there was any

  6    specific number.      But I don't have a specific number

  7    in my mind.     But certainly not back years ago.

  8           Q.    Right.    Do you -- do you have any, like,

  9    ballpark in your head of what would be an acceptable

 10    rate of fractures for an IVC filter?

 11           A.    No.    I mean, obviously we want it to be

 12    very low.    Our initial understanding was that the

 13    fracture rate was very low, in the 5 percent range;

 14    and then at some point, you know, maybe in the last

 15    four years or so, is when we learned that they were

 16    higher than that.      Or maybe six years, or three,

 17    or ...

 18           Q.    Let's see here.      Get stuff together here.

 19           (Exhibit 4019 was marked for identification.)

 20    BY MR. COMBS:

 21           Q.    And you know what, we'll make it easy --

 22    we can use that one.       That's fine.

 23                 MR. STOLLER:      It's been previously marked.

 24          You can use the same number, but that's okay.

 25                 MR. COMBS:     Are we using the same number?

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  1           have changed anything, because I'd assume -- I

  2           didn't assume they did know a cause of the limb

  3           detachments, because if they did, I thought that

  4           would be something that was fixed.          It just

  5           wasn't my understanding that they -- it was kind

  6           of my understanding that they didn't know the

  7           cause of it, just like the limitations of stents

  8           and other devices.

  9    BY MR. COMBS:

 10            Q.   Understood.     Turn to the right -- the

 11    lower right corner of 884.

 12            A.   Okay.

 13            Q.   And there's a box up towards the top of

 14    the page, and either the last or second-to-last

 15    sentence there, in the top paragraph of the box,

 16    says:    "Recovery filter fracture rates exceed the

 17    rates reported by other manufacturers in the MAUDE

 18    database."

 19                 Do you see that?

 20            A.   Yes.

 21            Q.   Is that information you would have wanted

 22    to know in 2004?

 23            A.   Yes, if there's a higher fracture rate,

 24    yes.

 25            (Exhibit 4024 was marked for identification.)

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  1    BY MR. COMBS:

  2           Q.    Turning to the next one, if you could,

  3    with me, Doctor, so we can move things along.             And I

  4    would be happy to leave you copies of this

  5    afterwards.     I've got copies for you if you want.

  6                 If you want to turn to the next one,

  7    Doctor?

  8           A.    Oh, the next document?

  9           Q.    That's marked 4024.

 10           A.    Okay.

 11           Q.    And this is a Health Hazard Evaluation,

 12    December 17th, 2004, Bard?

 13           A.    Agreed.

 14           Q.    And on the second page, under number 2, A,

 15    see there, it says:       "Reports of death, filter

 16    migration (movement), IVC perforation, and filter

 17    fracture associated with Recovery filter were seen in

 18    the MAUDE database at reporting rates that were 4.6,

 19    4.4, 4.1 and 5.3 higher, respectively, than reporting

 20    rates for all other filters."

 21                 Is that information you wanted, that Bard

 22    knew in December 2004, and that would have been

 23    important to you?

 24           A.    Yes.

 25           Q.    And then number 3, just below that, the

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  1          specific sentences.

  2                 First of all, the sentence begins if it --

  3          "If one were to extrapolate our observed

  4          prevalence of filter fractures ..."

  5                 I mean, that, right off the bat, in our

  6          training, is to not extrapolate observed

  7          prevalence rates of something, because there's a

  8          lot of other error and factors in that.

  9                 So this, again, in general, yes; in

 10          particular, the sentence -- you know, I don't

 11          know what to make of that sentence, because it's

 12          very vague.

 13    BY MR. COMBS:

 14           Q.    And -- but the fracture rates they're

 15    reporting here aren't vague.         True?

 16           A.    Correct.     You're right.

 17           Q.    And is that information that would have

 18    been important for you in deciding to use Bard IVC

 19    filters?

 20           A.    Yes.    All of the fracture information rate

 21    is something that was important to consider in the

 22    decision.

 23           (Exhibit 4026 was marked for identification.)

 24    BY MR. COMBS:

 25           Q.    And the next one here is another e-mail

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  1    chain between David Ciavarella and some other Bard

  2    people.    And I will -- I don't know if it says it in

  3    this chain or not; I think -- it doesn't look like it

  4    does, but I'll represent to you that David Ciavarella

  5    was the medical director for Bard at this time

  6    period, in December 2005.

  7                 And at the bottom of the first page, he

  8    states:    "The G2 is a permanent filter; we also have

  9    one (the SNF) that has virtually no complaints

 10    associated with it.       Why shouldn't doctors be using

 11    that one rather than the G2?"

 12                 And my question is:       Is that information

 13    that would have been important to you, to know that

 14    the medical director for Bard in 2005 was questioning

 15    why Bard was pushing the G2 as a permanent filter

 16    when they already had the SNF one?

 17                 MS. DALY:     Object to the form.       Lack of

 18          foundation.

 19                 THE WITNESS:      You know, again, all

 20          information is helpful, if there's -- if it is

 21          information regarding concern about one filter

 22          being better than the other.

 23    BY MR. COMBS:

 24



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         TO DOCKET 8186

 Exhibit J-C - REDACTED
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iii 11 111111   iu
                                           I                                                        •
     5900T


Name of Patient'
Physician provider of information about procedure:
(A) (1) I acknowledge and understand that the following procedure(s) (including procedures and/or additional services, such as anesthesia,
radiology, pathology and the like) including spipich has (have) been described to me is (are) to be performed on the patient,
Procedure.

and that as a result of the performance of the procedure(s) there is a material risk that the patient may suffer infection, allergic reaction, severe
loss of blood, loss or loss of function of any limb or organ, paralysis, paraplegia or quadriplegia, disfiguring scar, brain damage, cardiac arrest,
or death. In addition to the above, anesthetic procedures may also result in denial or nerve injury, headache or backache.
(2) I acknowledge and understand that during the course of the procedure(s) described in subparagraph (A) (1) above, conditions may
develop which may reasonably necessitate an extension of the original procedure(s) or the performance of procedure(s) which are
unforeseen or not known to be needed at the time this consent is obtained. I therefore consent to and authorize the persons described in the
last paragraph of this consent to make the decisions concerning the performance of and to perform such procedure(s) as they may deem
reasonably necessary or desirable in the exercise of their professional judgement, including those procedures that may be unforeseen or not
known to be needed at the time this consent is obtained. This consent shall also extend to the treatment for all conditions which may arise
during the course of such procedures including those conditions which may be unknown or unforeseen at the time consent is obtained.
(B) The anesthesia considered suitable for this type of surgery/procedure has been presented to me in general terms through methods such
as direct communications, videotapes, audiotapes, pamphlets or booklets. The Anesthetic Plan, including the method of administration, will
be discussed with me by a member of the anesthesia group before the administration of any anesthetic medication. My anesthetic will be
administered by an anesthesiologist, or an anesthetist under the direct supervision and control of an anesthesiologist.
(C) I acknowledge and understand and duly evidence in writing by executing this form that I have been informed in general terms of the following,
      (1) A diagnosis of the condition requiring the procedure(s)
      (2) The nature and purpose of the procedure(s)
      (3) The material risks of the procedure(s) (see paragraph (A) above)
      (4) The likelihood of success of the procedure(s)
      (5) The practical alternatives to such procedure(s), if any, and
      (6) The prognosis if the procedure(s) is (are) rejected and that all were provided through the use of video tapes, audio tapes,
pamphlets, booklets, or other means of communication or through conversations with the responsible physician, or other medical personnel
under the supervision and control of the responsible physician, other medical personnel involved in the course of treatment, nurses,
physician's assistants, trained counselors, or patient educators.
(D) I acknowledge that there are practical alternatives to the procedure(s) described in paragraph (A) which alternatives reasonably prudent
physicians generally recognize and accept.
(E) I acknowledge and understand that this request for and consent to surgical or diagnostic services and anesthesia procedures shall be
valid for the responsible physician, all medical personnel under the direct supervision and control of the responsible physician, and for all
other medical personnel otherwise involved in the course of treatment.
 I have been given ample opportunity to ask questions and any questions I have asked have been answered or explained in a satisfactory manner.
 By signing below, I acknowledge t                read or had it read or explained to me and I understand this form and I
 voluntarily consent to allow Dr                                                       or any physician(s) designated or selected
 by him or her and all medical personnel under the direct supervision and control of such physician and all other personnel which
 m                                               rocedures to per                                               referred to herein.


 Si


 Relationship Of Authorized Person                                            Date                                             Time

                                                 WAIVER OF RIGHT TO BE INFORMED
 I fully and completely waive the right to be informed of the information specified in paragraph (B) above and request that such
 information not be disclosed to me.


 Signature of Patient or Authorized Person                                        Witness


 Relationship of Authorized Person                                            Date                                             Time




                                                                                       DOB


                                                                                             1111111111111111111111111
          CONSENT T lari
                       s                   Wri                   SIC                               1022600161
            AND ANE                         c                                                               Patient ID Area
                           DATE              12/ 8
Form # NS180 (04/04)                                                Page 1 of 2
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                                            CONSENT FOR TRANSFUSION OF BLOOD
                                                  OR BLOOD PRODUCTS

 1. I consent to have blood and/or blood products transfusion(s) as may be deemed advisable by Dr
    or his/her designee and the risks, of refusal, benefits, and alternatives to blood or blood product transfusions have been explained to me.

 2.   I understand that no guarantee has been given by anyone as to the results that may be obtained.

 3. Potential benefits of receiving blood or blood products include:

      •    Restoring blood volume
      •    Replacing clotting factors; and
      •    Improving oxygen delivery to the body.

 4.   Potential risks of not receiving blood or blood products include:

      •    Death
      •    Heart attack
      •    Stroke
      •    Bleeding.

 5.   I understand that reactions are very unusual. The potential risks of blood or blood products include, but are not limited to:

      •    Temporary transfusion reactions such as headache, fever, chills, rash, and difficulty breathing;
      •    Hepatitis;
      •    Severe transfusion reactions potentially resulting in death;
      •    HIV (Human Immunodeficiency virus) (AIDS); and
      •    Other infectious agents.

6.    Potential alternatives to receiving community supplied blood or blood products include:

      •    Donating my blood several weeks in advance;
      •    Friends/relatives with compatible blood donating blood for me, if donated weeks in advance;
      •    Cell saving technology (capturing and returning my own blood); and
      •    Intravenous (IV) fluids to increase volume.

I, the undersigned, have had this blood / blood component and transfusion consent explained to me and fully understand the contents
of this authori atio




                                                                                                                     —
Relationship of Authorized Person                                          Date                                          Time




                                          REFUSAL OF BLOOD OR BLOOD PRODUCTS

I refuse the use of any blood and/or blood products. I understand the risks of not receiving blood and/or blood products.


Signature of Patient or Authorized Person                                  Witness


Relationship of Authorized Person                                          Date                                           Time




                                                                                DOB



                                                                                      111111111111111111111110
                                                                                           1022600161
                          PRINTED BY: LAMBESA1
                                                                                                       Patient ID Area
Form # NS1BO (04/04)      DATE     12/28/2016 page2W2
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        TO DOCKET 8186

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  1                   UNITED STATES DISTRICT COURT
  2                        DISTRICT OF ARIZONA
  3

  4    IN RE:    BARD IVC FILTERS            ) Case No.

       PRODUCTS LIABILITY LITIGATION         ) MD-15-02641-PHX-DGC
  5    ____________________________________________________
  6

  7

  8                          DO NOT DISCLOSE
  9          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
 10

 11

 12     VIDEOTAPED DEPOSITION OF
 13                           August 5, 2017
 14                 Winston-Salem, North Carolina
 15                              8:03 a.m.
 16

 17

 18

 19

 20

 21

 22

 23    Reported by:     Karen Kidwell, RMR, CRR
 24                    GOLKOW LITIGATION SERVICES

                  877.370.3377 ph | 917.591.5672 fax
 25                          deps@golkow.com

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  5            Q.    How did that direct the course that you

  6    took?




                    Again, it's hard to say, because in all of

 19    my medical experience, albeit limited,



                    .




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  1    especially with contrast, such as this.




  7           A.    I will say that again, having never seen a

  8    presentation like this, and the medical literature

  9    not being very robust on these types of

 10    presentations,




 16           Q.    So what was your next step?         Did you order

 17    additional tests, or what did you order?




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  1                   UNITED STATES DISTRICT COURT
                           DISTRICT OF ARIZONA
  2

  3

  4    IN RE:    BARD IVC FILTERS              ) Case No.
       PRODUCTS LIABILITY LITIGATION           ) MD-15-02641-PHX-DGC
  5    ____________________________________________________
  6

  7

  8                           DO NOT DISCLOSE
  9          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
 10

 11

 12      VIDEOTAPED DEPOSITION OF
 13                            March 23, 2017
 14                          Savannah, Georgia
 15                               1:41 p.m.
 16

 17

 18

 19

 20

 21

 22

 23    Reported by:      Karen Kidwell, RMR, CRR
 24                     GOLKOW TECHNOLOGIES, INC.
                  877.370.3377 ph | 917.591.5672 fax
 25                           deps@golkow.com

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  1           A.     Correct.




  7           Q.     And how did you, to the best of your
  8    recollection, get involved in the care and treatment
  9    of




              as an interventional radiologist, where you
 20    have some special expertise and abilities to actually
 21    act on this, as opposed to the radiologist who took
 22    the original films, who's not interventional, to use
 23    the word you used?
 24           A.     Correct.
 25           Q.     Let me ask you if you would turn to page 3

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  2                  And I'm a little bit more conservative, I
  3    suppose, than a lot of people in my approach to a lot
  4    of different things.




 14           Q.     Okay.    And I was focusing a bit on just --
 15    the last question,                                   Did you --
 16    my -- let me make sure I understand.




 21           A.     Yes.
 22           Q.     Okay.    And did you discuss -- well, let me
 23    come back to that point.
 24           A.     Okay.
 25           Q.     We will come back to that after.            After

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  1         IN THE UNITED STATES DISTRICT COURT
  2            FOR THE DISTRICT OF ARIZONA
  3                       - - -
  4

         IN RE: BARD IVC                      :
  5      FILTERS PRODUCTS                     :    NO.
         LIABILITY LITIGATION                 :    MD-15-02641-
  6                                           :    PHX-DGC
                                              :
  7                                           :
  8                              - - -
  9                           July 18, 2017
 10                              - - -
 11
 12         DO NOT DISCLOSE - SUBJECT TO FURTHER
 13                CONFIDENTIALITY REVIEW
 14

                    Videotaped deposition of
 15    MARK W. MORITZ, M.D., taken pursuant to
       notice, was held at the offices McCarter
 16    & English, LLP, 100 Mulberry Street,
       Newark, New Jersey, beginning at 9:07
 17    a.m., on the above date, before Michelle
       L. Gray, a Registered Professional
 18    Reporter, Certified Shorthand Reporter,
       Certified Realtime Reporter, and Notary
 19    Public.
 20

                                   -    -    -
 21
 22             GOLKOW LITIGATION SERVICES
            877.370.3377 ph | 917.591.5672 fax
 23                  deps@golkow.com
 24

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  1                Q.        Failures of Bard filters
  2    include tilting?
  3                A.        Correct.
  4                Q.        Failure of Bard filters
  5    include fracture?
  6                A.        Yes.
  7                Q.        Embolization?
  8                A.        Yes.
  9                Q.        And failures also include
 10    penetration into other organs, correct?
 11                A.        Correct.
 12                Q.        And you have seen at least
 13    in reviewing the plaintiff experts that
 14    there were internal documents in Bard
 15    which spoke to serious injuries, and even
 16    death caused by failure modes of Bard
 17    filters?
 18                A.        Correct.
 19                Q.        And certainly that's
 20    something I think you would agree that a
 21    medical doctor would want to know from a
 22    medical device company in making
 23    decisions about which type of devices to
 24    use for patients, fair?
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  1                          MR. BROWN:         Object to the
  2                form.
  3                          THE WITNESS:          Yes.
  4    BY MR. O'CONNOR:
  5                Q.        And certainly from what
  6    you've told me before, you certainly
  7    cannot discuss what if anything Bard did
  8    by way of warning of its knowledge of the
  9    types of filters and complications that
 10    Bard became aware of, true?
 11                A.        Well, I remember a letter
 12    around 2005 that I think I got.
 13                Q.        All right.         So you got some
 14    kind of "Dear Colleague" or "Dear Doctor"
 15    letter?
 16                A.        "Dear Doctor" letter.
 17                Q.        You're not going to be
 18    talking about that letter in this trial,
 19    fair?
 20                          MR. BROWN:         Object to the
 21                form.
 22                          THE WITNESS:          No, I didn't
 23                intend to.
 24

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Ph:

Account ID                                Guarantor Name & Address


Visit ID


Detailed Bill For

Patient Name:
Account Class:                                 SurgeAdmission Date:
Attending Physician:                                Discharge Date:

Charges

 Service     Cost      Rev.     Proc.     Description                 Qty.     Amount
 Date        Ctr.      Code     Code
====~;==;;~==~;::;===;====;===~~==~~==~=~==~===-======~====~====;;=;===~~;~=====




      Total hospital charges:


Payments
==~=============~============~=====;===~~=====;====~=;==~=========~~==~======~==
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  9            Q       Have you referred other patients whose

 10      filters you could not remove to other facilities

 11      for a removal attempt?

 12            A       No.




 25            Q       I want to clarify back in -- I got

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